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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

_________________________________________
                                            )
In re:                                      )     Chapter 11
                                            )
SOUTHERN FOODS GROUPS, LLC, et al.,         )     Case No. 19-36313 (DRJ)
                                            )
             Debtors.1                      )     (Joint Administration Requested)
                                            )
_________________________________________ )
       INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, 503,
          506, 507, AND 552 AND RULES 2002, 4001, 6003, 6004, AND 9014 OF
  THE FEDERAL RULES OF BANKRUPTCY PROCEDURE (I) AUTHORIZING THE
 DEBTORS TO (A) OBTAIN SENIOR SECURED SUPERPRIORITY POST-PETITION
    FINANCING, AND (B) USE CASH COLLATERAL, (II) GRANTING LIENS AND
     SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, (III) PROVIDING
         ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES,
  (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

              Upon the motion, dated November 12, 2019 (the “Motion”),2 of Dean Foods Company

    (“Dean Foods” or “DIP Borrower”) and certain of its affiliates, the debtors and debtors-in-

    possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Cases”),




          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion or
the DIP Credit Agreement (as defined below), as applicable.



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seeking the entry of this interim order (the “Interim Order”) and a Final Order (as defined

below) pursuant to Sections 105, 361, 362, 363, 364, 503, 506, 507 and 552 of title 11 of the

United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), Rules 2002,

4001, 6003, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure (as amended, the

“Bankruptcy Rules”), the Local Bankruptcy Rules for the Southern District of Texas (the “Local

Rules”), and the Procedures for Complex Chapter 11 Bankruptcy Cases (the “Complex Case

Rules”) promulgated by the United States Bankruptcy Court for the Southern District of Texas

(I) authorizing the Debtors to (A) obtain senior secured superpriority post-petition financing,

and (B) use cash collateral, (II) granting liens and superpriority administrative expense claims,

(III) providing adequate protection to the Prepetition Secured Parties (as defined below), (IV)

scheduling a final hearing, and (V) granting related relief, the Debtors sought, among other

things, the following relief:

              (i)     the Court’s authorization for the DIP Borrower to obtain, and for each

      subsidiary of the DIP Borrower that is a Debtor in these Cases (collectively, the “DIP

      Guarantors” and, together with the DIP Borrower, the “DIP Loan Parties”) to guarantee

      (unconditionally and on a joint and several basis) senior, secured, superpriority, priming,

      debtor-in-possession financing in an aggregate principal amount of $425,000,000 (the

      “DIP Facility”), participation in which has been offered to each of the Prepetition

      Revolving Lenders (as defined below) on a pro rata basis, consisting of: (A) a new

      money revolving credit facility in the aggregate principal amount of up to $236,200,000

      (the “DIP Revolving Facility”), which shall be available for the incurrence of new money

      revolving loans (the “DIP Revolving Loans”), including, up to a $25,000,000 sub-limit

      (the “DIP L/C Sub-Limit”), and subject to certain conditions thereon, the issuance of




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 letters of credit (the “DIP Letters of Credit”); and (B) upon the entry of the Final Order,

 term loans (the “DIP Roll-Up Loans” and, together with the DIP Revolving Loans, the

 “DIP Loans”; and the DIP Loans, collectively, with the DIP Letters of Credit and with

 any other financial accommodations provided for under the DIP Facility, the “DIP

 Extensions of Credit”) in an aggregate principal amount not to exceed the aggregate

 principal amount of all Prepetition Revolving Loans outstanding as of the Petition Date

 (as defined below), which Prepetition Revolving Loans shall be, on a dollar-for-dollar

 basis, refinanced as (and deemed repaid by) the DIP Roll-Up Loans (the “Revolver

 Refinancing”);

        (ii)      the Court’s authorization for the Debtors, subject to satisfaction (or

 waiver) of all applicable conditions precedent under the DIP Loan Documents (as defined

 below) in accordance therewith:

                  (a)    during the period (the “Interim Period”) from the date hereof

        through and including the earlier to occur of (x) the date of entry of the Final

        Order by this Court and (y) the Termination Date (as defined below), in

        accordance with the terms of the DIP Credit Agreement (as defined below), to (1)

        incur DIP Revolving Loans and (2) subject to, and to the extent of any availability

        under, the DIP L/C Sub-Limit, obtain issuance of DIP Letters of Credit, in an

        aggregate principal amount (with respect to DIP Revolving Loans and any DIP

        Letters of Credit) not to exceed $50,000,000 (the “Interim Availability”), and

                  (b)    upon entry of the Final Order and thereafter until the Termination

        Date, in accordance with the terms of the DIP Credit Agreement, (1)(A) to incur

        DIP Revolving Loans and (B) subject to, and to the extent of any availability




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        under, the DIP L/C Sub-Limit, obtain issuance of DIP Letters of Credit (with

        respect to the foregoing clauses (A) and (B), in an aggregate principal amount not

        to exceed $236,200,000 (including the aggregate amount borrowed under the DIP

        Facility during the Interim Period)), and (2) to incur DIP Roll-Up Loans in an

        aggregate principal amount not to exceed $188,800,000 and consummate the

        Revolver Refinancing;

        (iii)   the Court’s authorization for the Debtors to enter into, execute and deliver

 documentation evidencing the DIP Facility, including, without limitation, the Senior

 Secured Superpriority Debtor-in-Possession Credit Agreement, by and among, the DIP

 Borrower, Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), as arranger,

 Rabobank, as administrative agent and as collateral agent (in such capacities,

 collectively, the “DIP Agent”), and as the Issuing Bank (in such capacity, the “DIP

 Issuing Bank”), the financial institutions from time to time party thereto as lenders (the

 “DIP Lenders” and, together with the DIP Agent, the DIP Issuing Bank, and each other

 Holder of Secured Obligations under and as defined in the DIP Credit Agreement, the

 “DIP Secured Parties”), in substantially the form attached hereto as Exhibit 1 (the “DIP

 Credit Agreement” and, collectively with this Interim Order, the Final Order, and all

 other Loan Documents (as defined in the DIP Credit Agreement), including, without

 limitation, all fee letters and agreements entered into in connection therewith, in each

 case, as hereafter amended, amended and restated, supplemented or otherwise modified

 from time to time in accordance with the terms hereof and thereof, collectively, the “DIP

 Loan Documents”), in each case, to which they are a party, and to perform such other and




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        further acts as may be necessary or appropriate in connection therewith, or otherwise

        required under the DIP Loan Documents;

                 (iv)     the Court’s authorization for the Debtors to use the proceeds of the DIP

        Facility in accordance with the 13-week cash flow forecast prepared by the Debtors and

        annexed hereto as Exhibit 2 (as updated from time to time pursuant to the DIP Loan

        Documents and subject to the prior approval of the Required Lenders, the “DIP

        Budget”)3, subject to any Permitted Variances and as otherwise provided herein and in

        the other DIP Loan Documents;

                 (v)      the granting by the Court, as of the Petition Date (as defined below), to the

        DIP Agent (for the benefit of the DIP Lenders) in respect of the DIP Obligations (as

        defined below), of a superpriority administrative expense claim pursuant to Section

        364(c)(1) of the Bankruptcy Code and first priority priming liens on and security interests

        in substantially all assets and property of the Debtors (now owned or hereafter acquired),

        pursuant to Sections 364(c)(2), (c)(3) and (d)(1) of the Bankruptcy Code, in each case, as

        and to the extent, and subject to the priorities, set forth more fully below and in the DIP

        Loan Documents, and subject to the Carve-Out (as defined below);

                 (vi)     the Court’s authorization for the Debtors to use “cash collateral” as such

        term is defined in Section 363 of the Bankruptcy Code (the “Cash Collateral”) in which

        the Prepetition Secured Parties have an interest;




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   For the avoidance of doubt, any waiver or consent to a budget variance entered into by the Debtors and the DIP
Agent (with the consent of the requisite DIP Secured Parties as provided in and consistent with their respective
rights under the DIP Loan Documents) pursuant to the DIP Credit Agreement shall be deemed a waiver or consent
with respect to any provision in this Interim Order requiring compliance with, or providing authorization subject
to,the DIP Budget as it pertains to the applicable budget variance.



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              (vii)    the granting by the Court, as of the Petition Date, of the Adequate

       Protection Superpriority Claim (as defined below) and Adequate Protection Liens (as

       defined below), to the extent of and as compensation for any Diminution in Value (as

       defined below), and the payment of fees and expenses to the Prepetition Agent (as

       defined below) for the benefit of the Prepetition Secured Parties, in each case, as set forth

       more fully below and subject to the Carve-Out;

              (viii)   modification by the Court of the automatic stay imposed by Section 362 of

       the Bankruptcy Code to the extent necessary to implement and effectuate the terms and

       provisions of the DIP Facility, this Interim Order and the other DIP Loan Documents;

              (ix)     the scheduling by the Court of a final hearing (the “Final Hearing”) to

       consider entry of a Final Order as provided in the DIP Credit Agreement (the “Final

       Order”) granting the relief requested in the Motion on a final basis and approving the

       form of notice with respect to the Final Hearing and the transactions contemplated by the

       Motion;

              (x)      the waiver by the Court of any applicable stay (including under

       Bankruptcy Rule 6004) and provision for the immediate effectiveness of this Interim

       Order; and

the Court having jurisdiction to consider the matters raised in the Motion pursuant to U.S.C. §

1334; and the Court having authority to hear the matters raised in the Motion pursuant to 28

U.S.C. § 157; and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

and consideration of the Motion and the requested relief being a core proceeding that the Court

can determine pursuant to 28 U.S.C. § 157(b)(2); and due and proper notice of the Motion and

opportunity for a hearing on the Motion having been given to the parties listed therein, and it




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appearing that no other or further notice need be provided; and the Court having reviewed and

considered the Motion, the Declaration of Gary Ralhfs in Support of the First Day Motions and

Pursuant to Local Bankruptcy Rule 1007-2, and the Declaration of Bo S. Yi in Support of the

Motion; and the Court having held an interim hearing on the Motion on November [●], 2019 (the

“Interim Hearing”); and the Court having determined that the legal and factual bases set forth in

the Motion and at the Interim Hearing establish just cause for the relief granted herein; and the

Court having found the relief requested in the Motion to be fair, reasonable, and in the best

interests of the Debtors, their creditors, their estates, and all other parties in interest; and the

Court having determined that the relief requested in the Motion is necessary to avoid immediate

and irreparable harm to the Debtors and their estates pending the Final Hearing as contemplated

by Bankruptcy Rule 4001(b)(2); and all objections, if any, to the entry of this Interim Order

having been withdrawn, resolved or overruled by the Court; and upon all of the proceedings had

before the Court; after due deliberation and consideration, and for good and sufficient cause

appearing therefor:


THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
CONCLUSIONS OF LAW:4

        A.       Petition Date. On November 12, 2019 (the “Petition Date”), the Debtors filed

voluntary petitions under Chapter 11 of the Bankruptcy Code with the United States Bankruptcy

Court for the Southern District of Texas, Houston Division (the “Court”) commencing these

Cases. The Debtors have continued in the management and operation of their businesses and




4
  The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
extent any of the following conclusions of law constitute findings of fact, they are adopted as such.



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properties as debtors-in-possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy

Code. No trustee or examiner has been appointed in the Cases.

       B.       Jurisdiction and Venue. The Court has jurisdiction over these proceedings,

pursuant to 28 U.S.C. § 1334. Consideration of the Motion constitutes a core proceeding under

28 U.S.C. § 157(b)(2). Venue for the Cases and the proceedings on the Motion is proper in this

district pursuant to 28 U.S.C. §§ 1408 and 1409. Pursuant to Bankruptcy Rule 7008 and Local

Rule 7008-1, the Debtors consent to the entry of a final order by the Court in connection with the

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

       C.       Committee Formation.       As of the date hereof, no official committee of

unsecured creditors has been appointed in the Cases (together with any other statutory

committee, a “Committee”).

       D.       Notice. Notice of the Interim Hearing and the relief requested in the Motion has

been provided by telecopy, email, overnight courier and/or hand delivery, to (i) the United States

Trustee for the Southern District of Texas, (ii) those creditors holding the 30 largest unsecured

claims against the Debtors’ estates (on a consolidated basis), (iii) White & Case LLP, as counsel

to Coöperatieve Rabobank U.A., New York Branch, the administrative agent under Debtors’

prepetition receivables purchase agreement and administrative agent under Debtors’ prepetition

secured revolving credit facility, (iv) the indenture trustee under the Debtors’ prepetition

unsecured bond indenture, (v) Mayer Brown LLP, as counsel to PNC Bank, National

Association, the predecessor co-agent, purchaser, and letter of credit issuer under the

Receivables Financing Agreement (as defined below), (vi) Paul, Weiss, Rifkind, Wharton &




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Garrison LLP, as counsel to an ad hoc group of prepetition unsecured noteholders, (vii) the

Securities and Exchange Commission, (viii) the Internal Revenue Service, (ix) the United States

Attorney’s Office for the Southern District of Texas, (x) the state attorneys general for states in

which the Debtors conduct business, (xi) all other parties asserting a security interest in the

assets of the Debtors to the extent reasonably known to the Debtors, and (xii) any party that has

requested notice pursuant to Bankruptcy Rule 2002 (the “Notice Parties”). Under the

circumstances, such notice of the Interim Hearing and the relief requested in the Motion

constitutes due, sufficient and appropriate notice and complies with Section 102(1) of the

Bankruptcy Code, Bankruptcy Rules 2002, 4001(b) and (c) and 9014, the Local Rules and the

Complex Case Rules.

       E.      Prepetition Secured Indebtedness.

               (i)     Prepetition Revolving Credit Facility

                       (a)    Dean Foods, as borrower, each lender party thereto from time to

               time (the “Prepetition Revolving Lenders”), and Rabobank, as administrative

               agent and collateral agent (in such capacities, the “Prepetition Agent,” and

               together with the Prepetition Revolving Lenders, and the Issuing Bank and each

               other Holder of Secured Obligations under (and in each case as defined in) the

               Prepetition Revolving Credit Agreement (as defined below), the “Prepetition

               Secured Parties”), are parties to that certain Credit Agreement, dated as of

               February 22, 2019 (as amended, amended and restated, waived, supplemented

               and/or modified from time to time, the “Prepetition Revolving Credit Agreement”

               and, together with the Prepetition Security Agreement and the Prepetition

               Guaranty (each as defined below), and the other Loan Documents (as defined in




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       the Prepetition Revolving Credit Agreement), in each case, as amended, amended

       and restated, waived, supplemented and/or modified from time to time, the

       “Prepetition Loan Documents”), which provided for a revolving borrowing base

       credit facility in the aggregate principal amount of up to $265,000,000 (which

       amount was increased by $85,000,000 to an aggregate principal amount of up to

       $350,000,000 as of August 27, 2019, pursuant to certain supplements to the

       Prepetition Revolving Credit Agreement), including a letter of credit sub-limit of

       up to $25,000,000 and swingline availability in an aggregate principal amount of

       up to $10,000,000 (the “Prepetition Revolving Credit Facility”).

              (b)     Pursuant to that certain Guaranty, dated as of February 22, 2019

       (as amended, amended and restated, waived, supplemented and/or modified from

       time to time, the “Prepetition Guaranty”), each of the subsidiaries of Dean Foods

       party thereto from time to time (together with Dean Foods, as borrower, the

       “Prepetition Loan Parties”) unconditionally guaranteed on a joint and several

       basis the Prepetition Obligations (as defined below), which guaranty is secured by

       the Prepetition Collateral (as defined below).

              (c)     Pursuant to that certain Pledge and Security Agreement, dated as

       of February 22, 2019 (as amended, amended and restated, waived, supplemented

       and/or modified from time to time, the “Prepetition Security Agreement”) and the

       other Prepetition Loan Documents, the Prepetition Obligations owed to the

       Prepetition Secured Parties are secured by first priority Liens (as defined in the

       Prepetition Revolving Credit Agreement, the “Prepetition Liens”) on, and security




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       interests in, all of the Collateral (as defined in the Prepetition Revolving Credit

       Agreement), collectively, the “Prepetition Collateral”).

       (ii)   Receivables Financing

              (a)     Dairy Group Receivables, L.P. (“Dairy Group”) and Dairy Group

       Receivables II, L.P. (together with Dairy Group, the “Receivables Sellers”), as

       sellers, certain subsidiaries of Dean Foods who originated the receivables sold to

       the Receivables Sellers, as Servicers (as defined in the Receivables Financing

       Agreement (as defined below), the “Receivables Financing Servicers”), the

       Purchasers (as defined in the Receivables Financing Agreement, the “Receivables

       Purchasers”), Rabobank, as agent for the Receivables Purchasers (in such

       capacity, the “Receivables Financing Agent”), and as issuer of letters of credit (in

       such capacity, the “Receivables LC Issuer”), are parties to that certain Eighth

       Amended and Restated Receivables Purchase Agreement, dated as of February

       22, 2019 (as amended by the Ninth Amended and Restated Receivables Purchase

       Agreement, dated on or before the Effective Date under and as defined in the DIP

       Credit Agreement, and as may be further amended and restated, waived,

       supplemented and/or modified from time to time, the “Receivables Financing

       Agreement” and, together with the other Transaction Documents (as defined in

       the Receivables Financing Agreement), the “Receivables Financing Documents”),

       which provided for a receivables securitization facility in the aggregate principal

       amount of up to $450,000,000, which shall be reduced to $425,000,000 upon

       entry by the Court of an order approving the continuation and amendment of the

       Receivables Purchase Agreement on an interim basis (the “Interim Securitization




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       Order”), including the ability to issue letters of credit up to an aggregate face

       amount of $450,000,000, which shall be reduced to $425,000,000 upon entry of

       the Interim Securitization Order (collectively, the “Receivables Financing”)

       pursuant to which the Receivables Sellers sold certain accounts receivables

       belonging to certain subsidiaries of Dean Foods to the Receivables Purchasers.

              (b)    Notwithstanding that transfers of the Transferred Receivables

       pursuant to (and as defined in) the Receivables Financing Agreement are intended

       to be true sales, the Obligations under (and as defined in) the Receivables

       Financing Agreement owed by Receivables Sellers and the Receivables Financing

       Servicers to the Receivables Purchasers are secured by first priority protective

       liens on, and security interests in, the Transferred Receivables and other Pool

       Assets (as defined in the Receivables Financing Agreement and, collectively with

       the Transferred Receivables, the “Receivables Financing Collateral”).

              (c)    Pursuant to that certain Fifth Amended and Restated Performance

       Undertaking, dated February 22, 2019 (as amended pursuant to that certain Sixth

       Amended and Restated Performance Undertaking, dated as of the Closing Date,

       and as may be further amended, restated, supplemented, or otherwise modified

       from time to time) and that certain Fourth Amended and Restated Performance

       Undertaking, dated as of February 22, 2019 (as amended pursuant to that certain

       Fifth Amended and Restated Performance Undertaking, dated on or before the

       Effective Date under and as defined in the DIP Credit Agreement, and as may be

       further amended, restated, supplemented or otherwise modified from time to

       time), the DIP Borrower has provided to the Receivables Financing Agent, for




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              itself and for the benefit of the Receivables Purchasers and the applicable

              Receivables Sellers, an absolute, unconditional and continuing guaranty of the full

              and punctual performance by each of the Receivables Financing Originators of

              certain obligations under the Receivables Financing Documents.

              (iii)   Prepetition Unsecured Notes. Pursuant to that certain Indenture, dated as

      of February 25, 2015 (as amended, amended and restated, waived, supplemented and/or

      modified from time to time, the “Prepetition Indenture”), among Dean Foods, as issuer,

      The Bank of New York Mellon Trust Company, N.A., as trustee, and the Guarantors (as

      defined in the Prepetition Indenture), Dean Foods issued 6.50% Senior Notes due March

      15, 2023 in an aggregate principal amount of $700,000,000.

              (iv)    Intercreditor Agreement. The respective rights of the Prepetition Secured

      Parties, on the one hand, and the Receivables Purchasers and Receivables Sellers, on the

      other hand, to, and the priority of their respective rights to and security interests in, the

      Lender Collateral and the Securitization Assets (each as defined therein), are set forth in

      that certain Intercreditor Agreement, dated as of February 22, 2019, among certain of the

      Debtors, the Prepetition Agent and the Receivables Financing Agent (as amended,

      amended and restated, waived, supplemented and/or modified from time to time, the

      “Intercreditor Agreement”).

       F.     Stipulations as to Prepetition Obligations. Without limiting the rights of a

Committee (if any is appointed) or any other party in interest, in each case, with standing and

requisite authority, as and to the extent set forth in paragraph 6 hereof, the Debtors permanently,

immediately, and irrevocably acknowledge, represent, stipulate and agree:

              (i)     Prepetition Obligations.




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              (a)     As of the Petition Date, the Prepetition Loan Parties were justly

       and lawfully indebted and liable to the Prepetition Secured Parties under the

       Prepetition Loan Documents, without objection, defense, counterclaim or offset

       of any kind, in the aggregate principal amount of not less than $188,800,000 on

       account of outstanding Loans under (and as defined in) the Prepetition Revolving

       Credit Agreement (the “Prepetition Revolving Loans”), plus all accrued and

       unpaid interest thereon, and any fees, expenses, indemnification obligations,

       guarantee obligations, reimbursement obligations, including, without limitation,

       any attorneys’, accountants’, consultants’, appraisers’ and financial and other

       advisors’ fees that are chargeable to or reimbursable by the Prepetition Loan

       Parties, and all other Obligations under (and as defined in) the Prepetition

       Revolving Credit Agreement (collectively, the “Prepetition Obligations”).

              (b)     Enforceability of the Prepetition Obligations.              (i) The

       Prepetition Obligations constitute legal, valid, binding, non-avoidable obligations

       of the Prepetition Loan Parties enforceable in accordance with the terms of the

       applicable Prepetition Loan Documents, and (ii) no offsets, recoupments,

       challenges, contests, attacks, objections, defenses, claims or counterclaims of any

       kind or nature to any of the Prepetition Liens or the Prepetition Obligations exist,

       and no portion of the Prepetition Liens or the Prepetition Obligations is subject to

       any challenge, cause of action, or defense, including avoidance, disallowance,

       disgorgement, subordination (equitable or otherwise), re-characterization, or other

       challenge of any kind or nature under the Bankruptcy Code, applicable non-

       bankruptcy law or otherwise.




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                (c)    Enforceability of Prepetition Liens.         The Prepetition Liens

        granted by the Prepetition Secured Parties, to or for the benefit of the Prepetition

        Agent and the other Prepetition Loan Parties, as security for the Prepetition

        Obligations, encumber the Prepetition Collateral, as the same existed on or at any

        time prior to the Petition Date.       The Prepetition Liens have been properly

        recorded and perfected under applicable non-bankruptcy law, and are legal, valid,

        enforceable, non-avoidable, and not subject to contest, avoidance, attack, offset,

        re-characterization, subordination or other challenge of any kind or nature under

        the Bankruptcy Code, applicable non-bankruptcy law or otherwise. As of the

        Petition Date, and without giving effect to this Interim Order, the Debtors are not

        aware of any liens or security interests over the Prepetition Collateral of the

        Prepetition Loan Parties having priority over the Prepetition Liens, except certain

        Permitted Liens (as defined in the Prepetition Revolving Credit Agreement). The

        Prepetition Liens were granted to or for the benefit of the Prepetition Agent and

        the other Prepetition Secured Parties for fair consideration and reasonably

        equivalent value, and were granted contemporaneously with, or covenanted to be

        provided as inducement for, the making of the loans and/or commitments and

        other financial accommodations secured thereby.

        (ii)    Indemnity. The Prepetition Secured Parties and the DIP Secured Parties

 have acted in good faith, and without negligence, misconduct or violation of public

 policy or law, in respect of all actions taken by them in connection with or related in any

 way to negotiating, implementing, documenting or obtaining requisite approvals of the

 DIP Facility and the use of Cash Collateral, including in respect of the granting of the




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 DIP Liens (as defined below) and the Adequate Protection Liens, any challenges or

 objections to the DIP Facility or the use of Cash Collateral, the DIP Loan Documents,

 and all other documents related to and all transactions contemplated by the foregoing.

 Accordingly, without limitation to any other right to indemnification, the Prepetition

 Secured Parties and the DIP Secured Parties shall be and hereby are indemnified and held

 harmless by the Debtors in respect of any claim or liability incurred in respect thereof or

 in any way related thereto in accordance with the terms of the Prepetition Loan

 Documents or the DIP Loan Documents, as applicable. No exception or defense in

 contract, law or equity exists as of the date of this Interim Order to any obligation set

 forth, as the case may be, in this paragraph F(ii), in the DIP Loan Documents, or in the

 Prepetition Loan Documents to indemnify and/or hold harmless the DIP Agent, any other

 DIP Secured Party, or any Prepetition Secured Party, as the case may be, and any such

 defenses are hereby waived.

        (iii)   No Control. None of the DIP Secured Parties or the Prepetition Secured

 Parties are control persons or insiders of the Debtors or any of their affiliates by virtue of

 any of the actions taken with respect to, in connection with, related to, or arising from the

 DIP Facility, the Prepetition Obligations, the DIP Loan Documents and/or the Prepetition

 Loan Documents.

        (iv)    No Claims or Causes of Action. As of the date hereof, there exist no

 claims or causes of action against any of the DIP Agent, the other DIP Secured Parties, or

 the Prepetition Secured Parties with respect to, in connection with, related to, or arising

 from the DIP Loan Documents, the Prepetition Loan Documents, the DIP Facility and/or




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 the Prepetition Revolving Obligations that may be asserted by the DIP Loan Parties, the

 Prepetition Loan Parties or, to the Debtors’ knowledge, any other person or entity.

        (v)     Release.    The Debtors, on behalf of themselves and their respective

 estates, forever and irrevocably release, discharge, and acquit all former, current and

 future DIP Secured Parties and any Prepetition Secured Parties that become DIP Lenders,

 all holders of participation interests under the DIP Credit Agreement or the Prepetition

 Revolving Credit Agreement, all Affiliates of the DIP Secured Parties and of the

 Prepetition Secured Parties, and each of the former, current and future officers,

 employees, directors, agents, representatives, owners, members, partners, financial and

 other advisors and consultants, legal advisors, shareholders, managers, consultants,

 accountants, attorneys, affiliates, and predecessors and successors in interest of each DIP

 Secured Party and each Prepetition Secured Party and of each of their respective

 Affiliates, in each case in its capacity as such (collectively, the “Releasees”) of and from

 any and all claims, demands, liabilities, responsibilities, disputes, remedies, causes of

 action, indebtedness and obligations, rights, assertions, allegations, actions, suits,

 controversies, proceedings, losses, damages, injuries, attorneys’ fees, costs, expenses, or

 judgments of every type, whether known, unknown, asserted, unasserted, suspected,

 unsuspected, accrued, unaccrued, fixed, contingent, pending or threatened including,

 without limitation, all legal and equitable theories of recovery, arising under common

 law, statute or regulation or by contract, of every nature and description, arising out of, in

 connection with, or relating to the DIP Facility, the DIP Loan Documents, the Prepetition

 Revolving Credit Facility and the other Prepetition Loan Documents and/or the

 transactions contemplated hereunder or thereunder including, without limitation, (x) any




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       so-called “lender liability” or equitable subordination claims or defenses, (y) any and all

       claims and causes of action arising under the Bankruptcy Code, and (z) any and all claims

       and causes of action with respect to the validity, priority, perfection or avoidability of the

       liens or claims of the DIP Agent, the other DIP Secured Parties, and/or the Prepetition

       Secured Parties.     The Debtors further waive and release any defense, right of

       counterclaim, right of setoff or deduction of the payment of the Prepetition Obligations

       and the DIP Obligations that the Debtors now have or may claim to have against the

       Releasees arising out of, connected with, or relating to any and all acts, omissions or

       events occurring prior to the entry of this Interim Order.

       H.      Immediate Need for Postpetition Financing and Use of Cash Collateral. The

Debtors have requested immediate entry of this Interim Order pursuant to Bankruptcy Rule

4001(b)(2) and (c)(2) and the Local Bankruptcy Rules. Good cause has been shown for entry of

this Interim Order. An immediate need exists for the Debtors to obtain funds and liquidity to, as

the case may be, continue operations, pay the costs and expenses of administering the Cases, and

administer and preserve the value of their businesses and estates. The ability of the Debtors to

finance their operations, to preserve and maintain the value of the Debtors’ assets and to

maximize the return for all creditors requires the immediate availability of the DIP Facility and

the use of Cash Collateral. In the absence of the immediate availability of such funds and

liquidity in accordance with the terms hereof, the continued operation of the Debtors’ businesses

would not be possible, and immediate and irreparable harm to the Debtors and their estates and

creditors would occur.     Further, the possibility for a successful restructuring would be

jeopardized in the absence of the availability of funds in accordance with the terms of this

Interim Order. Thus, the ability of the Debtors to preserve and maintain the value of their assets




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and maximize the return for creditors requires the availability of working capital from the DIP

Facility and the use of Cash Collateral.

       I.      No Credit Available on More Favorable Terms. The Debtors have been unable

to obtain on more favorable terms and conditions than those provided in this Interim Order (i)

adequate unsecured credit allowable under Section 503(b)(1) of the Bankruptcy Code as an

administrative expense, (ii) credit for money borrowed with priority over any or all

administrative expenses of the kind specified in Sections 503(b) or 507(b) of the Bankruptcy

Code, (iii) credit for money borrowed secured by a lien on property of the estate that is not

otherwise subject to a lien, or (iv) credit for money borrowed secured by a junior lien on property

of the estate that is subject to a lien. The Debtors are unable to obtain credit for borrowed money

without granting the DIP Liens and the DIP Superpriority Claim (as defined below) to (or for the

benefit of) the DIP Secured Parties, or without granting the adequate protection (including the

Revolver Refinancing) as set forth herein.

       J.      Adequate Protection for Secured Parties. The Prepetition Agent and the other

Prepetition Secured Parties have negotiated in good faith regarding the Debtors’ use of

Prepetition Collateral (including Cash Collateral) to fund the administration of the Debtors’

estates and continued operation of their businesses, in accordance with the terms hereof and the

DIP Budget (subject to Permitted Variances). The Prepetition Secured Parties have agreed to

permit the Debtors to use the Prepetition Collateral, including the Cash Collateral, in accordance

with the terms hereof, including the DIP Budget (subject to Permitted Variances), during the

Interim Period, subject to the terms and conditions set forth in this Interim Order and in the other

DIP Loan Documents, including the protections afforded parties acting in “good faith” under

Section 363(m) of the Bankruptcy Code. The Prepetition Secured Parties are entitled to the




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adequate protection as and to the extent set forth herein pursuant to Sections 361, 362, and 363

of the Bankruptcy Code. Based on the Motion and on the record presented to the Court at the

Interim Hearing, the terms of the proposed adequate protection arrangements and of the use of

Prepetition Collateral (including Cash Collateral) are fair and reasonable, reflect the Debtors’

prudent exercise of business judgment and constitute reasonably equivalent value and fair

consideration for the Prepetition Agent and Prepetition Secured Parties’ consent thereto;

provided, that nothing in this Interim Order or the other DIP Loan Documents shall (i) be

construed as a consent by any Prepetition Secured Party that it would be adequately protected in

the event any debtor-in-possession financing is provided by a third party (i.e., other than the DIP

Lenders), or a consent to the terms of any financing or use of Cash Collateral, including the

consent to any lien encumbering the Prepetition Collateral (whether senior or junior) pursuant to

any financing or use of Cash Collateral, in each case, except under the terms hereof, or (ii)

prejudice, limit or otherwise impair the rights of the Prepetition Agent (for the benefit of the

Prepetition Secured Parties) to seek new, different or additional adequate protection under any

circumstances after the date hereof.

       K.      Section 552. In light of, as applicable, the subordination of the Prepetition Liens

and the Adequate Protection Liens to the DIP Liens and the Carve-Out, and the granting of the

DIP Liens on the Prepetition Collateral, the Prepetition Secured Parties are each entitled to all of

the rights and benefits of Section 552(b) of the Bankruptcy Code and, subject to the entry of the

Final Order, the “equities of the case” exception shall not apply.

       L.      Extension of Financing. The DIP Secured Parties are committing to provide

financing to the Debtors in accordance with the DIP Credit Agreement and the other DIP Loan

Documents (including the DIP Budget, subject to Permitted Variances), and subject to (i) the




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entry of this Interim Order (and the Final Order), approval of each provision of the DIP Credit

Agreement, and (ii) findings by this Court that such financing is essential to the Debtors’ estates

(and the continued operation of the DIP Loan Parties), that the DIP Secured Parties are good

faith financiers, and that the DIP Secured Parties’ claims, superpriority claims, security interests

and liens and other protections granted pursuant to and in connection with this Interim Order

(and the Final Order) and the DIP Facility (including the DIP Superpriority Claim and the DIP

Liens), will not be affected by any subsequent reversal, modification, vacatur, stay or amendment

of, as the case may be, this Interim Order, the Final Order, or any other order, as provided in

Section 364(e) of the Bankruptcy Code. The Prepetition Secured Parties have consented to the

use of the Prepetition Collateral and the Cash Collateral, solely in respect of the DIP Facility

provided by the DIP Secured Parties, and not in respect of any other postpetition financing or

cash collateral facility.

        M.      Business Judgment and Good Faith Pursuant to Section 364(e).

                (i)     The terms and conditions of the DIP Facility, and the fees paid and to be

paid thereunder, are fair, reasonable, and the best available under the circumstances, reflect the

Debtors’ exercise of prudent business judgment consistent with their fiduciary duties, and are

supported by reasonably equivalent value and consideration.

                (ii)    All obligations incurred, payments made, and transfers or grants of

security set forth in this Interim Order and the other DIP Loan Documents by any DIP Loan Party

are granted to or for the benefit of the DIP Secured Parties for fair consideration and reasonably

equivalent value, and are granted contemporaneously with the making of the loans and/or

commitments and other financial accommodations secured thereby.




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               (iii)   The DIP Facility and the DIP Loan Documents were negotiated in good

faith and at arm’s length among the Debtors, the DIP Agent, the other DIP Secured Parties, and

the Prepetition Secured Parties.

               (iv)    The use of the proceeds to be extended under the DIP Facility and the DIP

Loan Documents will be so extended in good faith and for valid business purposes and uses, as a

consequence of which the DIP Secured Parties are entitled to the protection and benefits of

Section 364(e) of the Bankruptcy Code.

       N.      Relief Essential; Best Interest. The relief requested in the Motion (and provided

in this Interim Order), is necessary, essential and appropriate for the continued operation of the

Debtors’ businesses and the management and preservation of the Debtors’ assets and property,

and satisfies the requirements of Bankruptcy Rule 6003. It is in the best interest of the Debtors’

estates, and consistent with the Debtors’ exercise of their fiduciary duties, that the Debtors be

allowed to enter into the DIP Facility, incur the DIP Obligations, grant the liens and claims

contemplated herein and under the DIP Loan Documents to the DIP Secured Parties and the

Prepetition Secured Parties, and use Prepetition Collateral, including Cash Collateral, as

contemplated herein.

               NOW, THEREFORE, on the Motion of the Debtors and the record before this

Court with respect to the Motion, including the record made during the Interim Hearing, and

with the consent of the Debtors, the Prepetition Secured Parties and the DIP Secured Parties, and

good and sufficient cause appearing therefor,

               IT IS ORDERED that:

       1.      Motion Granted. The Motion is granted in accordance with the terms and

conditions set forth in this Interim Order. Any objections to the Motion with respect to entry of




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this Interim Order to the extent not withdrawn, waived or otherwise resolved, and all reservation

of rights included therein, are hereby denied and overruled.

       2.      DIP Facility.

               (a)     DIP Obligations, etc.      The Debtors are expressly and immediately

authorized and empowered to enter into the DIP Facility and to incur and to perform all

obligations under the DIP Facility (including the DIP Obligations) in accordance with and

subject to this Interim Order (and, upon its entry, the Final Order) and the other DIP Loan

Documents, to enter into, execute and/or deliver all DIP Loan Documents and all other

instruments, certificates, agreements and documents, and to take all actions, which may be

reasonably required or otherwise necessary for the performance by the DIP Loan Parties under

the DIP Facility, including the creation and perfection of the DIP Liens described and provided

for herein. The Debtors are hereby authorized and directed to (i) pay all principal, interest, fees

and expenses, indemnities and other amounts described herein and in the other DIP Loan

Documents as such shall accrue and become due hereunder or thereunder, including, without

limitation, (A) the non-refundable payment to the Arranger, the DIP Agent or the DIP Lenders

(as the case may be) of any arrangement, backstop, upfront or administrative fee in any letter

agreement between the Debtors, on the one hand, and the DIP Agent, Arranger and/or the DIP

Lenders, on the other hand; and (B) the reasonable fees and expenses of White & Case LLP (as

counsel to the Prepetition Agent and DIP Agent and as counsel to the Receivables Financing

Agent), FTI Consulting (as financial advisors), and any other attorneys and financial and other

advisors and consultants of the DIP Agent and the DIP Lenders (including any local counsel and

any additional counsel to the Receivables Financing Agent) as may be reasonably required (the

“DIP Lender Professionals”), in each case, as and to the extent provided for herein and in




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accordance with the other DIP Loan Documents (collectively, all loans, advances, extensions of

credit, financial accommodations, fees, expenses and other liabilities, and all other Obligations

(including indemnities and similar obligations) in respect of DIP Extensions of Credit, the DIP

Facility and the DIP Loan Documents, the “DIP Obligations”), and (ii) upon the entry of the

Final Order, and subject to paragraph 6 hereof, to (x) incur the DIP Roll-Up Loans, which shall

be deemed to refinance (and repay), on a dollar-for-dollar basis, all outstanding Prepetition

Revolving Loans, in accordance with the terms and conditions of this Interim Order and the other

DIP Loan Documents and (y) and immediately pay in cash all accrued and unpaid interest and

fees outstanding in respect of the Prepetition Revolving Loans as of the date the DIP Roll-Up

Loans are incurred, as provided herein and in accordance with the Prepetition Loan Documents.

The DIP Obligations shall not otherwise be subject to further approval of this Court. The DIP

Loan Documents and all DIP Obligations shall represent, constitute and evidence, as the case

may be, valid and binding obligations of the Debtors, enforceable against the Debtors, their

estates and any successors thereto in accordance with their terms. All obligations incurred,

payments made, and transfers or grants of security set forth in this Interim Order and in the other

DIP Loan Documents by any DIP Loan Party are granted to or for the benefit of the DIP Secured

Parties   for   fair   consideration   and   reasonably equivalent    value,   and   are   granted

contemporaneously with the making of the loans and/or commitments and other financial

accommodations secured thereby (subject, in the case of the DIP Roll-Up Loans, to paragraph 6

hereof). No obligation incurred, payment made, transfer or grant of security set forth in the DIP

Loan Documents by any DIP Loan Party as approved under this Interim Order shall be stayed,

restrained, voided, voidable or recoverable under the Bankruptcy Code or under any applicable

non-bankruptcy law, or subject to any defense, reduction, setoff, recoupment or counterclaim.




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The term of the DIP Facility shall commence following the entry of this Interim Order on the

Effective Date and end on the Termination Date, subject to the terms and conditions set forth

herein and in the other DIP Loan Documents, including the protections afforded a party acting in

good faith under Section 364(e) of the Bankruptcy Code.

               (b)     Authorization to Borrow, etc. In order to enable them to continue to

operate their businesses, subject to the terms and conditions of this Interim Order and the other

DIP Loan Documents, the DIP Borrower is hereby authorized under the DIP Facility during the

Interim Period to borrow (and the DIP Guarantors are authorized to guarantee repayment of) DIP

Revolving Loans and, subject to any conditions or limitations set forth in the DIP Loan

Documents, to issue DIP Letters of Credit, in an aggregate principal amount not to exceed the

Interim Availability (and, with respect to any DIP Letters of Credit, the DIP L/C Sublimit) under

the DIP Facility.

               (c)     Conditions Precedent. The DIP Lenders shall have no obligation to

make any DIP Extension of Credit or any other financial accommodation hereunder or under the

other DIP Loan Documents unless all conditions precedent to making DIP Extensions of Credit

under the DIP Loan Documents have been satisfied or waived in accordance with the terms of

the DIP Loan Documents.


               (d)     DIP Collateral. As used herein, “DIP Collateral” shall mean, all now

owned or hereafter acquired assets and property, whether real or personal, of the Debtors

including, without limitation, all Prepetition Collateral, all assets and property pledged under the

DIP Loan Documents, and all cash, any investment of such cash, inventory, accounts receivable,

including intercompany accounts (and all rights associated therewith), other rights to payment

whether arising before or after the Petition Date, contracts, contract rights, chattel paper, goods,



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investment property, inventory, deposit accounts, “core concentration accounts,” “cash collateral

accounts”, any bank accounts, and in each case all amounts on deposit therein (or credited

thereto) from time to time, equity interests (including all the equity interests of any Debtor in any

foreign subsidiary), securities accounts, securities entitlements, securities, commercial tort

claims, books, records, plants, equipment, farm products, general intangibles, documents,

instruments, interests in leases and leaseholds, interests in real property (whether or not such real

property constituted Prepetition Collateral under the Prepetition Loan Documents), fixtures,

payment intangibles, tax or other refunds, insurance proceeds, letters of credit, letter of credit

rights, supporting obligations, machinery and equipment, patents, copyrights, trademarks,

tradenames, other intellectual property, all licenses therefor, interests of any Debtor in any

foreign subsidiary, and all proceeds, rents, profits, products and substitutions, if any, of any of

the foregoing, and including, solely upon entry of the Final Order, the proceeds of all of the

Debtors’ claims and causes of action under Sections 502(d), 544, 545, 547, 548, 549, 550 and

553 of the Bankruptcy Code, and any other avoidance or similar action under the Bankruptcy

Code or similar state law (collectively, the “Avoidance Actions”), whether received by judgment,

settlement or otherwise. Notwithstanding the foregoing, the DIP Collateral shall not include any

Excluded Property (as defined in the DIP Credit Agreement); provided, however, that DIP

Collateral shall include proceeds and products of such Excluded Property (except to the extent

such proceeds or products also constitute Excluded Property).


               (e)     DIP Liens. Effective immediately upon the entry of this Interim Order,

and subject to the Carve-Out, as set forth more fully in this Interim Order, the DIP Agent and

each of the other DIP Secured Parties, in order to secure the DIP Obligations, are hereby granted

the following security interests and liens, which shall immediately be valid, binding, perfected,



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continuing, enforceable and non-avoidable (all liens and security interests granted to the DIP

Agent and the DIP Secured Parties (x) during the Interim Period, in respect of the DIP

Obligations under the DIP Revolving Facility (including, subject to any conditions or limitation

specified in the DIP Loan Documents, any DIP Letters of Credit issued under the DIP L/C

Sublimit) and (y) upon entry of the Final Order, in respect of the remaining DIP Revolving Loans

(including, subject to any conditions or limitation specified in the DIP Loan Documents, any DIP

Letters of Credit issued under the DIP L/C Sublimit) and the DIP Roll-Up Loans (pursuant to

this Interim Order, any Final Order and the other DIP Loan Documents, the “DIP Liens”)):

                           (I)       pursuant to Section 364(c)(2) of the Bankruptcy Code,

                      valid, enforceable, perfected and non-avoidable first priority liens on and

                      security interests in all DIP Collateral that was not encumbered by valid,

                      enforceable, perfected and non-avoidable liens as of the Petition Date; and

                           (II)      pursuant to Section 364(c)(3) and Section 364(d) of the

                      Bankruptcy Code, valid, enforceable, perfected and non-avoidable first

                      priority priming liens on and security interests in all other DIP Collateral,

                      which liens and security interests shall, in each case, be (x) junior only to

                      any pre-existing liens as of the Petition Date of a third party, i.e., not any

                      Prepetition Secured Parties (each a “Third Party Lienholder”) on the DIP

                      Collateral, but solely to the extent that such liens and security interests of

                      any Third Party Lienholders were, in each case, as of the Petition Date,

                      valid enforceable, perfected and non-avoidable liens, or were perfected

                      subsequent to the Petition Date as permitted by Section 546(b) of the

                      Bankruptcy Code, and (i) senior to the Prepetition Liens or (ii) attached to




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                       property of the Debtors that did not constitute Prepetition Collateral (such

                       liens in the preceding clauses (i) and (ii), the “Permitted Third Party

                       Liens”), and (y) senior to all other liens on, and security interests in the

                       DIP Collateral, including without limitation, the Prepetition Liens, the

                       Adequate Protection Liens, and the liens of any Third Party Lienholders

                       which are pari passu with or junior to the Prepetition Liens.

Notwithstanding anything to the contrary contained in this Interim Order or any other DIP Loan

Documents, all DIP Liens securing DIP Obligations in respect of the DIP Revolving Facility

(including, subject to any conditions or limitation specified in the DIP Loan Documents, any DIP

Letters of Credit issued under DIP L/C Sublimit) shall, upon entry of the Final Order, be pari

passu with the DIP Roll-Up Loans.

               (f)     DIP Liens Senior to Other Liens. Effective immediately upon entry of

this Interim Order, the DIP Liens shall secure all of the DIP Obligations in respect of the DIP

Revolving Facility (including the DIP L/C Sublimit) and, upon entry of the Final Order, also in

respect of the DIP Roll-Up Loans, and shall not, without the consent of the DIP Agent, be made

subject or subordinate to, or pari passu with, (1) any lien or security interest that is avoided and

preserved for the benefit of the Debtors and their estates under Section 551 of the Bankruptcy

Code, (2) any lien or security interest arising on or after the Petition Date (but shall be subject to

the Carve-Out), or (3) any other lien or security interest under Section 363 or 364 of the

Bankruptcy Code or otherwise, other than to the Carve-Out or to the extent expressly provided

herein, by any court order heretofore or hereafter entered in the Cases. The DIP Liens and the

Adequate Protection Liens shall be valid and enforceable against any trustee appointed in the

Cases, upon the conversion of any of the Cases to a case under Chapter 7 of the Bankruptcy




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Code or in any other proceedings related to any of the foregoing (such cases or proceedings,

“Successor Cases”), and/or upon the dismissal of any of the Cases. It is understood and agreed,

and hereby ordered, that, notwithstanding the immediately preceding sentence or anything else to

the contrary set forth in this Interim Order, in any other DIP Loan Document, or in any other

order of this Court entered in the Cases, any amounts advanced or expended by the Prepetition

Secured Parties or the DIP Secured Parties, in their sole and absolute discretion and without

requiring the consent or approval of any other party, after the occurrence and during the

continuation of an Event of Default, directly or indirectly, to protect, preserve, maintain, market,

sell or liquidate the Prepetition Collateral or DIP Collateral, including to fund the Debtors’

operations during a sale process pursuant to Section 363 of the Bankruptcy Code, and any

reasonable professional or advisory fees and expenses of White & Case LLP (as counsel to the

Prepetition Agent and DIP Agent and as counsel to the Receivables Financing Agent), FTI

Consulting, any local counsel, any additional counsel to the Receivables Financing Agent, and

any other advisors, appraisers and/or liquidators retained by the DIP Agent in accordance with

the DIP Loan Documents to assist or advise it in such capacities and for such purposes, shall be

added to the DIP Obligations for all purposes hereunder and under the other DIP Loan

Documents. The DIP Liens and the Adequate Protection Liens shall not be subject to Sections

510, 549, 550 or 551 of the Bankruptcy Code or, upon entry of the Final Order, the “equities of

the case” exception of Section 552 of the Bankruptcy Code or Section 506(c) of the Bankruptcy

Code.

               (g)     Superpriority Administrative Claim.        Effective immediately upon the

entry of this Interim Order, and subject to the Carve-Out, the DIP Agent and each of the other

DIP Secured Parties, are hereby granted, pursuant to Section 364(c)(1) of the Bankruptcy Code,




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an allowed superpriority claim in the amount of the DIP Obligations owed to them and

outstanding from time to time (all such claims granted to the DIP Agent and the other DIP

Secured Parties, (x) during the Interim Period, in respect of DIP Obligations under the DIP

Revolving Facility (including, subject to any conditions or limitation specified in the DIP Loan

Documents, any DIP Letters of Credit issued under the DIP L/C Sublimit), and (y) upon entry of

the Final Order, in respect of DIP Obligations under the DIP Revolving Facility (including,

subject to any conditions or limitation specified in the DIP Loan Documents, any DIP Letters of

Credit issued under the DIP L/C Sublimit) and in respect of the DIP Roll-Up Loans, the “DIP

Superpriority Claim”), which shall be payable from and have recourse to all assets and properties

of the Debtors, and which shall be against each of the Debtors who are DIP Loan Parties (jointly

and severally), with priority over any and all other administrative expenses, adequate protection

claims, diminution in value claims, and all other claims asserted against the Debtors now

existing or hereafter arising of any kind whatsoever, including, without limitation, all

administrative expenses of the kind specified in Sections 503(b) and 507(b) of the Bankruptcy

Code, and over any and all other administrative expenses or other claims arising under any other

provisions of the Bankruptcy Code, including Sections 105, 326, 327, 328, 330, 331, 363, 364,

365, 503, 506(b), 506(c) (subject to the entry of the Final Order), 507(a) (other than 507(a)(1)),

546, 726, 1113, or 1114 of the Bankruptcy Code, whether or not such expenses or claims may

become secured by a judgment lien or other non-consensual lien, levy or attachment, subject only

to the Carve-Out, and pari passu solely with respect to any superpriority administrative expense

claim granted to the Receivables Financing Agent or the Receivables Purchasers pursuant to the

Interim Securitization Order (the “Receivables Superpriority Claim”), which DIP Superpriority

Claims shall for purposes of section 1129(a)(9)(A) of the Bankruptcy Code be considered




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administrative expenses allowed under Section 503(b) of the Bankruptcy Code and shall be

payable from and have recourse to all pre- and post-petition assets and property, whether existing

on the Petition Date or thereafter acquired, of the Debtors and all proceeds thereof (excluding

Avoidance Actions, but including, effective upon entry of the Final Order, proceeds of

Avoidance Actions). Other than with respect to the Carve-Out and as expressly provided herein,

no costs or expenses of administration, including, without limitation, professional fees allowed

and payable under Sections 328, 330 and 331 of the Bankruptcy Code, or otherwise, that have

been or may be incurred in these proceedings or in any Successor Cases, and no priority claims

are, or will be, senior to, prior to or pari passu with the DIP Liens, the DIP Superpriority Claim,

any of the DIP Obligations, Prepetition Liens, or any other claims of the DIP Secured Parties

arising hereunder or under the other DIP Loan Documents, or otherwise, in connection with the

DIP Facility.

       3.       Authorization and Approval to Use Cash Collateral and Proceeds of DIP

Facility. Subject to the terms and conditions of this Interim Order, the other DIP Loan

Documents, and the DIP Budget (subject to Permitted Variances), and to the adequate protection

granted to or for the benefit of the Prepetition Secured Parties as hereinafter set forth, each

Debtor is authorized during the Interim Period (and not beyond) to (a) use the Cash Collateral

and (b)(i) use DIP Loans, including the proceeds thereof, and (ii) issue DIP Letters of Credit

under the DIP Facility in an amount not to exceed the Interim Availability. Notwithstanding

anything herein to the contrary, the Debtors’ right to use proceeds of DIP Facility or to use Cash

Collateral shall terminate on the Termination Date, including upon written notice being provided

by the DIP Agent to the Debtors that an Event of Default has occurred and is continuing;

provided that, solely as and to the extent provided in paragraph 14 below, during the Default




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Notice Period (as defined below), the Loan Parties shall be permitted to continue to use Cash

Collateral and proceeds of the DIP Facility in the ordinary course of business and in accordance

with the DIP Budget (subject to Permitted Variances), and may request an expedited hearing

before the Court to address such issues as may be heard pursuant to paragraph 14 below.

Nothing in this Interim Order shall authorize the disposition of any assets of the Debtors or their

estates or other proceeds resulting therefrom outside the ordinary course of business, except as

permitted herein (subject to any required Court approval).

       4.      Adequate Protection for Prepetition Secured Parties. As adequate protection

for the interests of the Prepetition Secured Parties in the Prepetition Collateral (including Cash

Collateral), the Prepetition Agent for the benefit of the Prepetition Secured Parties shall receive

adequate protection as follows:

               (i)     Adequate Protection Liens. Until the Revolver Refinancing occurs (and,

       thereafter, on a contingent basis until the expiration of the Challenge Period), to the

       extent of, and in an aggregate amount equal to, the aggregate diminution in value of such

       interests, from and after the Petition Date, calculated in accordance with Section 506(a)

       of the Bankruptcy Code, resulting from, among other things, the use, sale or lease by the

       Debtors of the Prepetition Collateral (including from the use of Cash Collateral), the

       granting of the DIP Liens, and the subordination of the Prepetition Liens thereto and to

       the Carve-Out, and the imposition or enforcement of the automatic stay of Section 362(a)

       of the Bankruptcy Code (collectively, “Diminution in Value”), pursuant to Sections 361,

       363(e) and 364(d) of the Bankruptcy Code, the Prepetition Agent and each of the other

       Prepetition Secured Parties, shall have replacement security interests in and liens upon

       (the “Adequate Protection Liens”) all of the DIP Collateral, which Adequate Protection




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 Liens shall be (i) subject to the Carve-Out, (ii) junior and subject to the DIP Liens and

 any Permitted Third Party Liens and (iii) senior and prior to all other liens thereon. The

 Adequate Protection Liens shall in all cases be subject to the Carve-Out.

        (ii)    Adequate Protection Superpriority Claims.              Until the Revolver

 Refinancing occurs (and, thereafter, on a contingent basis until the expiration of the

 Challenge Period), to the extent of the aggregate Diminution in Value, the Prepetition

 Agent and each of the other Prepetition Secured Parties shall have, subject to the payment

 of the Carve-Out, an allowed superpriority administrative expense claim (the “Adequate

 Protection Superpriority Claim”) as provided for in Section 507(b) of the Bankruptcy

 Code, immediately junior and subject to the DIP Superpriority Claim and any

 Receivables Superpriority Claim, and payable from and having recourse to all DIP

 Collateral; provided, that the Prepetition Secured Parties shall not receive or retain any

 payments, property, distribution or other amounts in respect of the Adequate Protection

 Superpriority Claim unless and until the DIP Obligations and (without duplication) the

 DIP Superpriority Claim has indefeasibly been paid in full in cash.

        (iii)   Adequate Protection Payments, etc.

                     (I)       (x) From and after the entry of this Interim Order, the

                Prepetition Agent (for the benefit of the Prepetition Secured Parties) shall

                receive from the Debtors, cash payment of all accrued and unpaid interest

                and fees owing by the Debtors, whether incurred or accrued prior to or on

                or after the Petition Date, under the Prepetition Revolving Credit

                Agreement, at the applicable default rates provided for in the Prepetition

                Revolving Credit Agreement (including LIBOR pricing options, which




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             shall remain available until such time as the LIBOR Borrowing (as defined

             in the Prepetition Revolving Credit Agreement) expire, at which time such

             loans will accrue interest at the Alternate Base Rate (as defined in the

             Prepetition Revolving Credit Agreement)) and on the payment dates

             provided therein, including all accrued and unpaid letter of credit

             participation fees, unused commitment fees, and fronting fees owing to the

             Issuing Bank under (and as defined in) the Prepetition Revolving Credit

             Agreement and/or the other Prepetition Secured Parties under the

             Prepetition Loan Documents, whether incurred or accrued prior to or on or

             after the Petition Date, and (y) immediately upon the entry of the Final

             Order, subject to paragraph 6 hereof, the Debtors shall (1) incur the DIP

             Roll-Up Loans, which shall be deemed to refinance (and repay), on a

             dollar-for-dollar basis, all outstanding Prepetition Revolving Loans, in

             accordance with the terms and conditions of this Interim Order and the

             other DIP Loan Documents and (2) pay to the Prepetition Secured Parties,

             in cash, all remaining accrued and unpaid interest and fees owing by the

             Debtors under the Prepetition Revolving Credit Agreement as of the date

             the DIP Roll-Up Loans are incurred, at the applicable default rates

             provided for in the Prepetition Revolving Credit Agreement, including all

             accrued and unpaid letter of credit participation fees, unused commitment

             fees, and fronting fees owing to the Issuing Bank under (and as defined in)

             the Prepetition Revolving Credit Agreement and/or the other Prepetition

             Secured Parties under the Prepetition Loan Documents.




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                  (II)      Promptly upon the entry of this Interim Order (and in the

             case of legal professionals retained by any Prepetition Lender, within three

             (3) business days after receipt of an invoice therefrom), the Debtors shall

             pay all reasonable and documented fees, costs and expenses of the

             Prepetition Agent and the Prepetition Secured Parties, including cash pay-

             ments of all reasonable and documented professional and advisory fees,

             costs and expenses of the Prepetition Agent and the Prepetition Secured

             Parties incurred in connection with the negotiation, administration, and

             monitoring of the Prepetition Loan Documents, Prepetition Revolving

             Credit Facility, the Receivables Financing Documents, the DIP Loan

             Documents and/or the DIP Facility, including, without, limitation, the

             reasonable documented fees, costs and expenses of the Prepetition Agent’s

             legal, financial, other advisory, tax, investment banking and other

             professionals (including, without limitation, White & Case LLP (as

             counsel to the Prepetition Agent and DIP Agent and as counsel to the

             Receivables Financing Agent), FTI Consulting, and any local counsel, any

             additional counsel to the Receivables Financing Agent, and any

             replacement or addition thereto that the Prepetition Agent deems

             reasonably appropriate), and any legal professionals retained by any

             Prepetition Lender (collectively, the “Prepetition Lender Professionals”),

             incurred in connection with the negotiation, execution, administration, and

             monitoring of the Prepetition Loan Documents, the Receivables Financing

             Documents, the DIP Loan Documents and/or the DIP Facility as of the




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                      Petition Date, and thereafter, until the Revolver Refinancing has occurred,

                      and subject to the procedures set forth in paragraph 17(b) hereof, promptly

                      upon the receipt of invoices therefor, the Debtors shall pay all reasonable

                      and documented fees, costs and expenses of the Prepetition Agent incurred

                      in connection with the negotiation, execution, administration and

                      monitoring of the Prepetition Loan Documents, the Receivables Financing

                      Documents, the DIP Loan Documents and/or the DIP Facility, including

                      the professional and advisory fees of the Prepetition Lender Professionals.

                      Payment of any amounts set forth in this clause (II) shall not be subject to

                      disgorgement.

               (iv)   DIP Roll-Up Loans. Subject to the entry of the Final Order, the Debtors

       shall use the DIP Roll-Up Loans to consummate the Revolver Refinancing.

               (v)    Financial Reporting, etc. Until the Revolver Refinancing occurs, the

       Debtors shall deliver to the Prepetition Agent all monthly financial reporting given to the

       U.S. Trustee, and all of the financial reporting and notices as, and when, required to be

       provided to the DIP Agent under, and in all instances consistent with, the DIP Loan

       Documents; provided that delivery of such reports and notices to the DIP Agent (in its

       capacity as such) shall satisfy the requirements of this paragraph.

       5.      DIP Lien and Adequate Protection Replacement Lien Perfection.                 This

Interim Order shall be sufficient and conclusive evidence of the validity, perfection and priority

of the DIP Liens and the Adequate Protection Liens without the necessity of filing or recording

any financing statement, deed of trust, mortgage, or other instrument or document which may

otherwise be required under the law of any jurisdiction or the taking of any other action to




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validate or perfect the DIP Liens and the Adequate Protection Liens or to entitle the DIP Liens

and the Adequate Protection Liens to the priorities granted herein.            Notwithstanding the

foregoing, the DIP Agent and the Prepetition Agent may, each in their sole discretion, file such

financing statements, mortgages, security agreements, notices of liens and other similar

documents, and are hereby granted relief from the automatic stay of Section 362 of the

Bankruptcy Code in order to do so, and all such financing statements, mortgages, security

agreements, notices and other agreements or documents shall be deemed to have been filed or

recorded at the time and on the Petition Date. It shall constitute a Default if, as and to the extent

required under the DIP Loan Documents, the Debtors shall not execute and deliver to the DIP

Agent and the Prepetition Agent all such financing statements, mortgages, security agreements,

notices and other documents as the DIP Agent and the Prepetition Agent may reasonably request

to evidence, confirm, validate or perfect, or to insure the contemplated priority of, the DIP Liens

and the Adequate Protection Liens. The DIP Agent and the Prepetition Agent, in their discretion,

may file a certified copy of this Interim Order as a financing statement or a notice with any

recording officer designated to file financing statements or with any registry of deeds or similar

office in any jurisdiction in which any Debtor has real or personal property and, in such event,

the subject filing or recording officer shall be authorized to file or record such copy of this

Interim Order. To the extent that the Prepetition Agent is the secured party under any account

control agreements, listed as loss payee under any of the Debtors’ insurance policies or is the

secured party under any Prepetition Loan Document, the DIP Agent is also deemed to be the

secured party under such account control agreements, loss payee under the Debtors’ insurance

policies or is the secured party under any loan document, financing statement, deed of trust,

mortgage or other instrument or document which may otherwise be required under the law of any




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jurisdiction to validate, attach, perfect or prioritize liens (any such instrument or document, a

“Security Document”), the DIP Agent is also deemed to be the secured party under each such

account control agreement, loss payee under the Debtors’ insurance policies, and the secured

party under each such Security Document, and shall have all rights and powers attendant to that

position (including, without limitation, rights of enforcement) and shall act in that capacity and

distribute any proceeds recovered or received in accordance with the terms of this Interim Order

and/or the Final Order, as applicable, and the other DIP Loan Documents. The Prepetition Agent

shall serve as agent for the DIP Agent for purposes of perfecting their respective security

interests and liens on all DIP Collateral comprised of Prepetition Collateral that is of a type such

that perfection of a security interest therein may be accomplished only by possession or control

by a secured party.

       6.      Reservation of Certain Third Party Rights and Bar of Challenges and

Claims. The Debtors’ stipulations, admissions, agreements, releases, and waivers contained in

this Interim Order, including the stipulations set forth in Paragraph F of this Interim Order (the

“Stipulations”), are and shall be binding upon the Debtors and any and all of the Debtors’

successors-in-interest and assigns (including, without limitation, any chapter 7 or chapter 11

trustee, responsible person, examiner with expanded powers, or other estate representative). The

Stipulations, and all other admissions, agreements, releases and waivers set forth in this Interim

Order also are and shall be binding upon all other parties-in-interest (including any Committee)

and each of their respective successors-in-interest and assigns, unless, and solely to the extent

that (i) such parties-in-interest, in each case with standing and requisite authority to do so

(subject in all respects to any agreement or applicable law which may limit or affect such entity’s

right or ability to do so) have timely filed the proper pleadings, and timely commenced the




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appropriate proceedings under the Bankruptcy Code and Bankruptcy Rules, including, without

limitation, as required pursuant to Part VII of the Bankruptcy Rules (in each case subject to the

limitations set forth in paragraph 7 below), (a) objecting to or challenging any of the Stipulations

or (b) otherwise asserting or prosecuting any action against the Prepetition Secured Parties or any

of their respective affiliates, agents, attorneys, advisors, professionals, officers, directors, or

employees in connection with matters covered by the Stipulations (each such proceeding or

appropriate pleading commencing a proceeding or other contested matter, a “Challenge”), by no

later than (x) with respect to the official committee of unsecured creditors (if one is appointed),

the date that is sixty (60) days from the date such committee is appointed and (y) with respect to

all other parties in interest, the date that is seventy-five (75) days from the entry of this Interim

Order (the period described in the immediately preceding clauses (x) and (y) shall be referred to

as the “Challenge Period,” and the date that is the next calendar day after the termination of the

Challenge Period shall be referred to as the “Challenge Period Termination Date”), as such date

may be extended as to any such party-in-interest by the Prepetition Agent (with the consent of

the Required Lenders (as defined in the Prepetition Revolving Credit Agreement)) and each

applicable individual Prepetition Secured Party that is the subject of a Challenge or by any such

later date as has been ordered by the Court for cause upon a motion filed and served within the

Challenge Period (before giving effect to such extension) and (ii) this Court enters judgment in

favor of the plaintiff or movant in any such timely and properly commenced Challenge

proceeding, and any such judgment has become final and is not subject to any further review or

appeal. Any Challenge not asserted by the timely and proper filing of a pleading by a party-in-

interest with the requisite standing and authority as contemplated herein prior to the Challenge

Termination Date shall be deemed forever waived, released, and barred with respect to such




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party-in-interest. To the extent a party-in-interest with requisite standing and authority timely

and properly commences a Challenge prior to the Challenge Period Termination Date, all claims,

causes of action and other matters not specifically set forth in such Challenge shall be deemed

forever waived, released, and barred with respect to such party-in-interest. To the extent the

Stipulations (or any of them) are (x) not subject to a Challenge timely and properly commenced

prior to the Challenge Period Termination Date or (y) subject to a Challenge timely and properly

commenced prior to the Challenge Period Termination Date, to the extent any such Challenge

does not result in a final and non-appealable judgment or order of the Court that is inconsistent

with such Stipulations, then, in each case, without further notice, motion or application to, or

order of, or hearing before, this Court and without the need or requirement to file any proof of

claim: (a) any and all such Challenges by any Committee, and any other party in interest shall be

deemed to be forever waived, released, and barred (including in any Successor Case); and (b) the

Prepetition Obligations shall be deemed to be an allowed secured claim within the meaning of

Sections 502 and 506 of the Bankruptcy Code for all purposes in connection with the Cases, and

all of the Stipulations and all other waivers, releases and affirmations set forth in this Interim

Order (or any not properly and timely challenged) shall be in full force and effect and shall be

binding, conclusive and final on any person, entity or party-in-interest, including any Committee

(in each case, and their successors-in-interest and assigns), in the Cases and in any Successor

Case for all purposes, without any further order of the Court, and shall not be subject to

challenge or objection by the Committee or any other party-in-interest, including, without

limitation, any trustee, responsible individual, examiner with expanded powers or other

representative of the Debtors’ estates. If any Challenge is timely and properly filed during the

Challenge Period, the Stipulations and all other waivers, releases and affirmations contained in




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this Interim Order shall nonetheless remain binding, and preclusive as provided in this paragraph

6, on all other parties in interest (including any Committee), and on any other person or entity,

except for the plaintiff or movant timely and successfully asserting such Challenge, as set forth

in a final, non-appealable order of a court of competent jurisdiction. Notwithstanding anything to

the contrary herein, the right to commence any Challenge under this Interim Order is only

preserved as against any particular Prepetition Obligation or Prepetition Collateral, or against any

Prepetition Secured Party to the extent such Challenge is commenced timely and properly, prior

to the Challenge Period Termination Date, and in respect of such Prepetition Obligation,

Prepetition Collateral, or Prepetition Secured Party, and is otherwise waived as set forth in this

paragraph 6. All remedies or defenses of any party with respect to any Challenge are hereby

preserved.    Nothing in this Interim Order vests or confers on any person (as defined in the

Bankruptcy Code), including any Committee (if any) appointed in these Cases, standing or

authority to pursue any cause of action belonging to the Debtors or their estates, including,

without limitation, any Challenges with respect to the Prepetition Obligation, and an order of the

Court (or any other court of competent jurisdiction) conferring such standing on a Committee or

other party in interest shall be a prerequisite for the prosecution of a Challenge by the Committee

or such other party-in-interest.

       7.      Limitations on Use of Cash Collateral. Notwithstanding anything herein to the

contrary, no portion of the proceeds of the DIP Facility, the DIP Collateral, Prepetition

Collateral, including Cash Collateral, or the Carve-Out, and no disbursements set forth in the

DIP Budget, may be used for the payment of professional fees, disbursements, costs, or expenses

incurred by any person in connection with (a) incurring indebtedness other than as expressly

provided in this Interim Order or the DIP Budget, (b) preventing, hindering, impeding, or




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delaying any of the Prepetition Agent’s or any other Prepetition Secured Party’s enforcement or

realization upon, or exercise of rights in respect of, any of the Prepetition Collateral or DIP

Collateral, other than to seek a determination that an Event of Default has not occurred or is not

continuing or in connection with a remedies hearing, (c) seeking to amend or modify any of the

rights or interests granted to the Prepetition Agent or any other Prepetition Secured Party under

this Interim Order or Prepetition Loan Documents, including seeking to use Cash Collateral on a

contested basis, (d) asserting, commencing, or prosecuting any claims or causes of action,

including, without limitation, any Challenge or any other actions under chapter 5 of the

Bankruptcy Code (or any similar law), against the Prepetition Agent or any other Prepetition

Secured Party, or any of their respective affiliates, agents, attorneys, advisors, professionals,

officers, directors, or employees, or (e) asserting, joining, commencing, supporting,

investigating, or prosecuting any Challenge, or any other action for any claim, counterclaim,

action, cause of action, proceeding, application, motion, objection, defense, or other contested

matter seeking any order, judgment, determination, or similar relief against, or adverse to the

material interests of the Prepetition Secured Parties, arising out of, in connection with, or relating

to the Prepetition Loan Documents, or the transactions contemplated thereunder, including,

without limitation, (i) any action arising under the Bankruptcy Code, (ii) any so-called “lender

liability” claims and causes of action, (iii) any action with respect to the validity and extent of the

Prepetition Obligations or the validity, extent, perfection and priority of the Prepetition Liens,

(iv) any action seeking to invalidate, set aside, avoid, reduce, set off, offset, recharacterize,

subordinate (whether equitable, contractual, or otherwise), recoup against, disallow, impair, raise

any defenses, cross-claims, or counterclaims, or raise any other challenges under the Bankruptcy

Code or any other applicable domestic or foreign law or regulation against, or with respect to, the




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Prepetition Liens, in whole or in part, or (v) appeal or otherwise challenge this Interim Order or

the Final Order; provided that no more than $75,000 in the aggregate of the proceeds of the DIP

Facility, the DIP Collateral, Prepetition Collateral, the Cash Collateral, and the Carve-Out may

be used by any Committee to investigate (but not prosecute or Challenge, or initiate the

prosecution of, including the preparation of any complaint or motion on account of) the

Stipulations.

       8.       Carve-Out.

                (a)    As used in this Interim Order, the “Carve-Out” shall mean a carve-out

from the DIP Superpriority Claims, the DIP Liens, claims pursuant to section 507(b) of the

Bankruptcy Code, and the Adequate Protection Liens and the Prepetition Liens, in an amount

equal to the sum of (i) all fees required to be paid to the Clerk of the Court and to the U.S.

Trustee under section 1930(a) of title 28 of the United States Code plus interest at the statutory

rate (without regard to the Carve-Out Trigger Notice (as defined herein)); (ii) all reasonable and

documented fees and expenses incurred by a trustee under section 726(b) of the Bankruptcy

Code, in an aggregate amount not to exceed $75,000 (without regard to the Carve-Out Trigger

Notice); (iii) to the extent allowed by the Court at any time, whether by interim order, procedural

order or otherwise, all unpaid fees and expenses, other than any Transaction Fees (as defined

below) (the “Professional Fees”) incurred by persons or firms retained by the Debtors pursuant to

section 327, 328, or 363 of the Bankruptcy Code or by a Committee, if any, pursuant to section

328 and 1103 of the Bankruptcy Code (collectively, the “Professional Persons”), at any time on

or before the first business day following the (a) delivery by the DIP Agent of a Carve-Out

Trigger Notice and (b) the Termination Date (including as a result of the occurrence of an Event

of Default) (such day, the “Carve-Out Trigger Date”), whether allowed by the Court prior to or




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after the Carve-Out Trigger Date; and (iv) Professional Fees incurred after the Carve-Out Trigger

Date in an amount not to exceed $8,000,000 (the “Post-Carve-Out Trigger Notice Cap”), in each

case subject to the limits imposed by this Interim Order and the Final Order. For purposes of the

foregoing, “Carve-Out Trigger Notice” shall mean a written notice delivered by email by the DIP

Agent to the Debtors’ lead restructuring counsel, the U.S. Trustee, and counsel to

any Committee, which notice may be delivered following the occurrence and during the

continuation of an Event of Default under the DIP Loan Documents stating that the Post-Carve-

Out Trigger Notice Cap has been invoked. For the avoidance of doubt, the incurrence or

payment of any amounts subject to the Carve-Out shall not be restricted by the DIP Budget.

               (b)    The Carve-Out shall not include any restructuring, completion, sale,

success, divestiture or other transaction fees of any investment bankers or financial advisors of

the Debtors or a Committee, if any (such fees, “Transaction Fees”), provided, however, that a

Transaction Fee which is earned and payable by the Debtors, upon consummation of an

applicable transaction, pursuant to an engagement letter between the Debtors and the Debtors’

investment banker, Evercore, which is acceptable to the DIP Agent (with the consent of the

requisite DIP Secured Parties as provided in and consistent with their respective rights under the

DIP Loan Documents) and is approved by the Court, shall be payable prior to any distribution to,

the DIP Secured Parties or the Prepetition Secured Parties, solely from any proceeds received by

the Debtors resulting from such transaction.

               (c)    Prior to the occurrence of the Carve-Out Trigger Date, the Debtors are

authorized (subject to the DIP Budget) to pay Professional Fees that are authorized to be paid in

accordance with the provisions of the Bankruptcy Code and any order entered by the Court

establishing procedures for the payment of compensation to Professional Persons in these Cases,




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as the same may be due and payable, and such payments shall not reduce the Carve-Out. Upon

the occurrence of the Carve-Out Trigger Date, the Post-Carve-Out Trigger Notice Cap shall be

reduced, dollar-for-dollar, by the amount of any Professional Fees incurred and accruing by the

Debtors or any Committee, and paid to the applicable Professional Persons, following delivery of

the Carve-Out Trigger Notice to the Debtors.

               (d)    Immediately upon the Carve-Out Trigger Date, and prior to the payment of

any DIP Secured Party or Prepetition Secured Party on account of adequate protection, the

Carve-Out Trigger Notice shall constitute a demand to the Debtors to utilize all cash on hand as

of such date and any available cash thereafter held by any Debtor to fund a reserve (the “Carve-

Out Reserve”) in an amount equal to the sum of the amounts set forth in paragraphs 8(a)(i)

through 8(a)(iv) above.

               (e)    The Carve-Out Reserve shall be held in a segregated non-interest bearing

account in trust at the DIP Agent to pay allowed Professional Fees benefiting from the Carve-Out

as provided herein, and the Carve-Out Reserve shall be available only to satisfy such allowed

Professional Fees benefiting from the Carve-Out until such Professional Fees are paid in full.

               (f)    To the extent the Carve-Out Reserve has not been reduced to zero after the

payment in full of such obligations, it shall be used to pay the DIP Agent for the benefit of the

DIP Secured Parties until the DIP Obligations have been indefeasibly paid in full in cash and all

commitments under the DIP Facility have been terminated. Notwithstanding anything to the

contrary herein, the Prepetition Agent and the DIP Agent, each on behalf of itself and the

relevant secured parties, (y) shall not sweep or foreclose on the Carve-Out Reserve prior to

satisfaction in full of all obligations benefitting from the Carve-Out as provided herein, and

(z) shall have a security interest upon any residual interest in the Carve-Out Reserve, available




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following satisfaction in cash in full of all obligations benefitting from the Carve-Out as

provided herein, and the priority of such liens on the residual interest shall be consistent with this

Interim Order. Further, notwithstanding anything to the contrary herein, (A) the failure of the

Carve-Out Reserve to satisfy in full the Professional Fees shall not affect the priority of the

Carve-Out and (B) in no way shall the Carve-Out, the Post-Trigger Date Carve-Out Amount, the

Carve-Out Reserve, or any of the foregoing be construed as a cap or limitation on the amount of

the Professional Fees due and payable by the Debtors.

               (g)     Notwithstanding anything to the contrary herein or in the DIP Loan

Documents, the Carve-Out shall be senior to the DIP Obligations, the DIP Superpriority Claims,

the DIP Liens, the Adequate Protection Obligations, the 507(b) Claims, the Adequate Protection

Liens, the Prepetition Liens, and all other liens and claims granted under this Interim Order, the

DIP Loan Documents, or otherwise securing or in respect of the DIP Obligations or the Adequate

Protection Obligations.

               (h)     The DIP Secured Parties and the Prepetition Secured Parties reserve the

right to review and object to any fee statement, interim application or monthly application issued

or filed by the Professionals Persons. Notwithstanding anything to the contrary herein or in the

DIP Loan Documents, the payment of any allowed Professional Fees pursuant to the Carve-Out

shall not, and shall not be deemed, to (i) reduce any Debtor’s obligations owed to the DIP Agent,

the other DIP Secured Parties, the Prepetition Agent or the other Prepetition Secured Parties

(whether under this Interim Order or otherwise) or (ii) other than as necessary to permit the

payment of such allowed Professional Fees (in each case, subject to the terms of and as expressly

provided in this Interim Order with respect to the Carve-Out), modify, alter or otherwise affect

any of the liens and security interests of such parties (whether granted under this Interim Order or




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otherwise) in the Prepetition Collateral or the DIP Collateral (or their claims against the

Debtors). The DIP Agent, the other DIP Secured Parties, the Prepetition Agent and the other

Prepetition Secured Parties shall not be responsible for the direct payment or reimbursement of

any Professional Fees, or any fees or expenses of the U.S. Trustee or Clerk of the Court (or of

any other entity) incurred in connection with the Cases or any Successor Case, and nothing in

this Interim Order or otherwise shall be construed to obligate such parties in any way to pay such

compensation or to reimburse such expenses.

       9.      Section 506(c) Claims. Subject to the entry of the Final Order, as a further

condition of the DIP Facility and the DIP Extensions of Credit under the DIP Credit Agreement

and the other DIP Loan Documents, any obligation of the DIP Secured Parties to make DIP

Extensions of Credit, and the Debtors’ authorization to use the Cash Collateral, the Debtors (and

any successors thereto or any representatives thereof, including any trustees appointed in the

Cases or any Successor Case) shall be deemed to have waived any rights, benefits or causes of

action under Section 506(c) of the Bankruptcy Code as they may relate to or be asserted against

the DIP Secured Parties, the DIP Liens, the DIP Collateral, the Prepetition Secured Parties, the

Prepetition Liens or the Prepetition Collateral. Except for the Carve-Out, nothing contained in

this Interim Order, in the Final Order or in the other DIP Loan Documents shall be deemed a

consent by the Prepetition Secured Parties or the DIP Secured Parties to any charge, lien,

assessment or claim against, or in respect of, the DIP Collateral or the Prepetition Collateral

under Section 506(c) of the Bankruptcy Code or otherwise.

       10.     Collateral Rights; Limitations in Respect of Subsequent Court Orders. Upon

the entry of this Interim Order, and thereafter, unless the DIP Agent (at the direction of the

Required Lenders) and the Prepetition Agent (at the direction of the requisite lenders under the




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Prepetition Loan Documents) have provided their prior written consent, or all DIP Obligations

and Prepetition Obligations have been indefeasibly paid and satisfied in full in cash (including

the cash collateralization of all DIP Letters of Credit, and any prepetition letters of credit under

the Prepetition Loan Documents (the “Prepetition LCs”) in accordance with the DIP Loan

Documents and the Prepetition Loan Documents, as the case may be) and discharged, it shall

constitute an Event of Default if the Debtors shall seek in these Cases, or in any Successor Case,

or there shall be entered in these Cases or in any Successor Case (or in each case any proceeding

ancillary thereto), any order which authorizes any of the following: (i) except as and to the extent

expressly permitted by the DIP Credit Agreement, the obtaining of credit or the incurring of

indebtedness that is secured by a security, mortgage, or collateral interest or other lien on all or

any portion of the DIP Collateral and/or entitled to priority administrative status which is

superior to or pari passu with those granted pursuant to this Interim Order (other than any

Receivables Superpriority Claim) to or for the benefit of the DIP Secured Parties or the

Prepetition Secured Parties, or (ii) the use of proceeds of the DIP Facility or Cash Collateral for

any purpose other than as permitted under the DIP Credit Agreement and in accordance with the

DIP Budget (subject to Permitted Variances).

       11.     Proceeds of Subsequent Financing.           Without limiting the provisions and

protections of paragraph 10 above, if at any time prior to the indefeasible repayment and

satisfaction in full in cash of all DIP Obligations (including the cash collateralization of all DIP

Letters of Credit and Prepetition LCs (if any), in accordance with the DIP Loan Documents and

the Prepetition Loan Documents, as the case may be), and the termination of the DIP Secured

Parties’ obligations to make DIP Extensions of Credit, including subsequent to the confirmation

of any Chapter 11 plan or plans with respect to the Debtors, the Debtors, the Debtors’ estates,




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any trustee, any examiner with enlarged powers or any responsible officer subsequently

appointed, shall obtain credit or incur debt in violation of this Interim Order or the other DIP

Loan Documents, then all of the cash proceeds derived from such credit or debt shall

immediately be turned over to the DIP Agent for application in accordance with the DIP Loan

Documents, the relevant Prepetition Loan Documents, and under applicable law (and with

respect to payment of any Prepetition Obligations, subject to paragraph 6 hereof).

         12.   Cash Management.         It shall constitute a Default if the Debtors’ cash

management system shall not at all times be maintained in accordance with the terms of the DIP

Loan Documents and the order of this Court approving the maintenance of the Debtors’ cash

management system [Dkt. No. __]. Other than the Collections Accounts (as defined in the

Interim Securitization Order, the DIP Agent shall be deemed to have “control” over all bank

accounts for all purposes of perfection under the Uniform Commercial Code pursuant to this

Interim Order and, if required, pursuant to control agreements reasonably acceptable to the DIP

Agent.

         13.   Disposition of DIP Collateral. It shall constitute an Event of Default if the

Debtors shall sell (including, without limitation, any sale and leaseback transaction), transfer

(including any assignment of rights), lease, encumber or otherwise dispose of any portion of the

DIP Collateral, except as permitted by the DIP Credit Agreement (including with respect to the

Receivables Financing, in accordance with the Interim Securitization Order and the Receivables

Financing Documents).

         14.   Events of Default; Rights and Remedies Upon Event of Default.

               (a)    Any automatic stay otherwise applicable to the DIP Secured Parties is

hereby modified so that, upon and after the occurrence of the Termination Date, the DIP Agent




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(or the other DIP Secured Parties, to the extent expressly permitted under the DIP Loan

Documents) shall, subject to subparagraphs (b) and (c) of this paragraph 14 (including the

Default Notice Period to the extent provided therein) and, solely in the case of a Termination

Date resulting from an Event of Default, following (i) the delivery of a written notice to counsel

to the Debtors, counsel for any Committee appointed in the Cases, and the U.S. Trustee (such

notice, a “Default Notice”) and (ii) the filing of an emergency motion on the Court’s docket,

during which period the Court shall hold an expedited hearing (at which hearing the burden shall

be on any party opposing the exercise of remedies, and the DIP Secured Parties shall not be

required to satisfy the applicable standard for relief from the automatic stay), be entitled to

exercise all of their rights and remedies in respect of the DIP Collateral, in accordance with this

Interim Order and the other DIP Loan Documents. The term “Termination Date” shall mean (a)

the Scheduled Maturity Date, (b) the effective date of any Chapter 11 plan with respect to the

Debtors confirmed by the Court; (c) the date on which all or substantially all of the assets of the

Debtors are sold in a sale under any Chapter 11 plan or pursuant to Section 363 of the

Bankruptcy Code; (d) the date which is forty-five (45) days after the Petition Date, if the Court

has not entered the Final Order by such date; (e) the occurrence of an Event of Default under and

as defined in the DIP Credit Agreement, and (f) the acceleration of the DIP Obligations and/or

termination of the commitments under the DIP Revolving Facility, in accordance with the terms

of the DIP Loan Documents.

               (b)     Upon the delivery by the DIP Agent of written notice of the occurrence of

an Event of Default, in each case given to counsel to the Debtors, counsel for any Committee

appointed in the Cases, and the U.S. Trustee (such notice, a “a Default Notice”): (i) all

commitments of the DIP Lenders to provide any DIP Extensions of Credit shall immediately be




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suspended, (ii) the Debtors shall have no right to request any DIP Extensions of Credit, to use

proceeds of any DIP Extensions of Credit or DIP Collateral, or to use Cash Collateral, other than

to use such Cash Collateral and proceeds of DIP Extensions of Credit towards the satisfaction of

the DIP Obligations and the Carve-Out, as provided herein; provided, that, during the Default

Notice Period (as defined below) the Debtors may, subject to the limitations set forth herein and

in the other DIP Loan Documents, continue to use Cash Collateral and proceeds of DIP

Extensions of Credit previously drawn or issued (and any other cash on hand or on deposit in any

deposit account or other bank account of a Debtor) in the ordinary course of business, and in

accordance with the DIP Budget, to pay for payroll or other expenditures incurred prior to the

Termination Date which are critical to the Debtors’ operations and the preservation of the DIP

Collateral; and (iii) subject to the provisions of this paragraph 14, the DIP Agent shall be

permitted to apply such proceeds in accordance with the terms of this Interim Order. The

Debtors and any Committee shall be entitled to an emergency hearing before this Court within

five (5) days after the giving of written notice by the DIP Agent of the occurrence of an Event of

Default (the “Default Notice Period”). If the Debtors or any Committee do not contest the

occurrence of the Event of Default within the Default Notice Period, or if the Debtors or any

Committee do timely contest the occurrence of an Event of Default and the Court after notice

and a hearing declines (or otherwise within the Default Notice Period fails) to stay the

enforcement thereof, the Termination Date shall be deemed to have occurred for all purposes,

and the automatic stay shall terminate as to the DIP Agent in all respects, as provided in this

paragraph 14. Nothing herein shall preclude the DIP Agent from seeking an order from the

Court upon written notice (electronically in a manner that generates a receipt for delivery, or via

overnight mail) to the U.S. Trustee, counsel to the Debtors and counsel to the Committee, if any,




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authorizing the DIP Agent to exercise any enforcement rights or remedies with respect to the DIP

Collateral on less than five (5) days’ notice, or the Debtors’ right to contest such relief.

               (c)     Upon the occurrence of the Termination Date (but subject, only in the case

of the occurrence of the Termination Date resulting from an Event of Default, subject to the

expiration of the Default Notice Period as provided hereinfollowing the expedited hearing to be

held in accordance with paragraph 14(a) hereof), the DIP Agent and the Prepetition Agent areis

authorized to exercise all remedies and proceed under or pursuant to the applicable DIP Loan

Documents and the Prepetition Loan Documents, including, without limitation, to require the

DIP Borrower to cash collateralize any DIP Letters of Credit, in accordance with the DIP Loan

Documents and the Prepetition Loan Documents, as applicable.               All proceeds realized in

connection with the exercise of the rights and remedies of the DIP Secured Parties, or the

Prepetition Secured Parties (subject to obtaining the requisite relief from the automatic stay),

shall be turned over and applied in accordance with the terms of this Interim Order, the DIP Loan

Documents and the Prepetition Loan Documents.

               (d)     The automatic stay imposed under Section 362(a) of the Bankruptcy Code

is hereby modified pursuant to the terms of the DIP Loan Documents as necessary to (i) permit

the Debtors to grant the Adequate Protection Liens and the DIP Liens and to incur all DIP

Obligations and all liabilities and obligations to the Prepetition Secured Parties hereunder and

under the other DIP Loan Documents, as the case may be, and (ii) authorize the DIP Agent, the

other DIP Secured Parties to retain and apply payments, and otherwise enforce their respective

rights and remedies hereunder.

               (e)     Upon the occurrence of a Termination Date, or the delivery by the DIP

Agent of a Default Notice (subject to the Default Notice Period), and subject to the terms of this




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paragraph 14, including, subparagraph (g) hereof, the Prepetition Agent and other Prepetition

Secured Parties may seek a hearing on an expedited basis to consider whether the automatic stay

may be lifted so that the Prepetition Agent (on behalf of the Prepetition Secured Parties) may

exercise any and all of their rights set forth in this Interim Order or in the Prepetition Loan

Documents.

               (f)     Nothing included herein shall prejudice, impair, or otherwise affect the

Prepetition Agent’s or the DIP Agent’s rights to seek (on behalf of the Prepetition Secured

Parties and the DIP Secured Parties, respectively), subject to their relative rights and priorities

herein, any other or supplemental relief in respect of the Debtors (including, as the case may be,

other or additional adequate protection) nor the DIP Agent’s or Prepetition Agent’s rights to

suspend or terminate the making of DIP Extensions of Credit or use of Cash Collateral in

accordance with this Interim Order and the other DIP Loan Documents, or the rights of the

Debtors to oppose such relief. The delay or failure to exercise rights and remedies under this

Interim Order or any DIP Loan Document or Prepetition Loan Document, as applicable, shall not

constitute a waiver of the DIP Agent’s, the DIP Secured Parties’, the Prepetition Agent’s or the

Prepetition Secured Parties’ respective rights hereunder, thereunder or otherwise, as applicable.

The occurrence of an Event of Default or the Termination Date shall not affect the validity,

priority or enforceability of any and all rights, remedies, benefits and protections provided (or

that continue to be provided) to the DIP Agent, the DIP Secured Parties, the Prepetition Agent or

the Prepetition Secured Parties under this Interim Order, which rights, remedies, benefits and

protections shall survive the Termination Date, as provided herein.

               (g)     Notwithstanding anything in this Interim Order to the contrary, neither the

Prepetition Agent (on behalf of itself or the other Prepetition Secured Parties) or the other




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Prepetition Secured Parties shall be permitted to exercise any rights or remedies unless and until

the DIP Obligations are indefeasibly paid and satisfied in full in cash (including the cash

collateralization of all DIP Letters of Credit, in accordance with the DIP Loan Documents) and

discharged.

       15.     Applications of Proceeds of Collateral, Payments and Collections. As a

condition to the DIP Extensions of Credit and the authorization to use Cash Collateral, each

Debtor has agreed that all Cash Collateral, all proceeds of any DIP Collateral or Prepetition

Collateral (including proceeds realized from a sale or disposition thereof), any amounts held on

account of the DIP Collateral or Prepetition Collateral, all payments and collections received by

the Debtors with respect to all DIP Collateral and Prepetition Collateral, and all other amounts

remitted by any non-Debtor affiliates to any Debtors in respect of, among other things, asset

sales and certain other transactions in accordance with the DIP Credit Agreement shall only be

used and applied in accordance with this Interim Order, the DIP Credit Agreement, and the other

DIP Loan Documents (including repayment and reduction of the DIP Obligations), and in

accordance with the DIP Budget (subject to Permitted Variances).

       16.     Proofs of Claim, etc. None of the DIP Secured Parties or the Prepetition Secured

Parties shall be required to file proofs of claim in any of the Cases or any Successor Cases for

any claim allowed herein, and the Debtors’ Stipulations shall be deemed to constitute a timely

filed proof of claim against each of the applicable Debtors in the Cases. Notwithstanding any

order entered by the Court in relation to the establishment of a bar date in any of the Cases or any

Successor Cases to the contrary, the DIP Agent, on behalf of itself and the DIP Secured Parties,

and the Prepetition Agent, on behalf of itself and the Prepetition Secured Parties, respectively,

are hereby authorized and entitled, in each of their sole and absolute discretion, but not required,




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to file (and amend and/or supplement, as it sees fit) a master proof of claim and/or aggregate

proofs of claim in each of the Cases or any Successor Cases for any claim allowed herein; for

avoidance of doubt, any such proof of claim may (but is not required to be) filed as one

consolidated proof of claim against all of the Debtors, rather than as separate proofs of claim

against each Debtor. Any proof of claim filed by the DIP Agent or the Prepetition Agent shall be

deemed to be in addition to and not in lieu of any other proof of claim that may be filed by any of

the respective DIP Secured Parties or Prepetition Secured Parties. Any order entered by the

Court in relation to the establishment of a bar date for any claim (including without limitation

administrative claims) in any of the Cases or any Successor Cases shall not apply to the DIP

Agent, the other DIP Secured Parties, the Prepetition Agent or the other Prepetition Secured

Parties.

           17.   Other Rights and Obligations.

                 (a)   Good Faith Under Section 364(e) of the Bankruptcy Code; No

Modification or Stay of this Interim Order. Based on the findings set forth in this Interim

Order and in accordance with Section 364(e) of the Bankruptcy Code, which is applicable to the

DIP Facility as approved by this Interim Order, in the event any or all of the provisions of this

Interim Order are hereafter modified, amended or vacated by a subsequent order of this Court or

any other court, the DIP Secured Parties are entitled to the protections provided in Section 364(e)

of the Bankruptcy Code, and no such appeal, modification, amendment or vacatur shall affect the

validity and enforceability of any advances made hereunder or the liens or priority authorized or

created hereby. Notwithstanding any such modification, amendment or vacatur, any claim

granted to the DIP Secured Parties hereunder arising prior to the effective date of such

modification, amendment, vacatur or stay of any DIP Liens or of the DIP Superpriority Claim




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granted to or for the benefit of the DIP Secured Parties shall be governed in all respects by the

original provisions of this Interim Order, and the DIP Secured Parties shall be entitled to all of

the rights, remedies, privileges and benefits, including the DIP Liens and the DIP Superpriority

Claim granted herein, with respect to any such claim. Because the DIP Extensions of Credit are

made in reliance on this Interim Order and the other DIP Loan Documents, the DIP Obligations

incurred by the Debtors or owed the DIP Secured Parties prior to the effective date of any stay,

modification or vacatur of this Interim Order shall not, as a result of any subsequent order in the

Cases or in any Successor Cases, be subordinated, lose their lien priority or superpriority

administrative expense claim status, or be deprived of the benefit of the status of the liens and

claims granted to the DIP Secured Parties under this Interim Order.

               (b)     Expenses. To the fullest extent provided in this Interim Order and in the

other DIP Loan Documents, the Debtors will pay all prepetition and post-petition fees expenses

incurred by the DIP Secured Parties (including, without limitation, the reasonable fees and

disbursements of the DIP Lender Professionals, and any other local counsel or additional

securitization counsel that any DIP Secured Party shall retain and any internal or third-party

appraisers, consultants, financial, restructuring or other advisors and auditors advising any such

counsel), including in connection with (i) the negotiation, preparation, execution, delivery,

funding and administration of the DIP Loan Documents, including, without limitation, all due

diligence fees and expenses incurred or sustained in connection with the DIP Loan Documents,

(ii) the Cases or any Successor Cases, or (iii) enforcement of any rights or remedies under the

DIP Loan Documents. Payment of all such fees and expenses, and the fees and expenses of the

Prepetition Secured Parties that are paid as adequate protection hereunder, shall not be subject to

allowance by the Court, and the Prepetition Secured Parties, the Prepetition Lender




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Professionals, the DIP Secured Parties, and the DIP Lender Professionals (and any other

professionals for the DIP Secured Parties), shall not be required to file an application seeking

compensation for services or reimbursement of expenses with the Court or comply with the U.S.

Trustee fee guidelines, but shall provide its fee and expense statements or invoices, in summary

form, which shall not be required to contain time entries but shall include the number of hours

billed by the applicable professional (except for financial advisors compensated on other than an

hourly basis) and a summary statement of services provided and the expenses incurred and which

may be redacted or modified to the extent necessary to delete any information subject to the

attorney-client or other privilege, any information constituting attorney work product, or any

other confidential or otherwise sensitive information, and the provision of such invoices shall not

constitute any waiver of the attorney-client privilege or of any benefits of the attorney work

product doctrine) to the Debtors, with copies to be provided to the Office of the U.S. Trustee and

counsel for the Committee (if any) contemporaneously with the delivery of such fee and expense

statements or invoices to the Debtors. The Debtors shall pay in cash all such fees and expenses

of any DIP Lender Professional, (i) promptly upon the entry of this Interim Order (or, in the case

of DIP Lender Professionals retained by any Prepetition Lender, within three (3) business days

after receipt of an invoice therefrom), and (ii) thereafter, within ten (10) days of presentment of

such statements or invoices, if no written objections to the reasonableness of the fees and

expenses charged in any such statement or invoice (or portion thereof) is made.. Any objection

raised by the Debtors, the U.S. Trustee or the Committee (if any) with respect to such fee and

expense statements or invoices (with notice of such objection provided to the DIP Agent and to

the respective DIP Lender Professional) may be made only on the basis of “reasonableness,” and

shall specify in writing the amount of the contested fees and expenses and the detailed basis for




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such objection. To the extent an objection only contests a portion of an invoice, the undisputed

portion thereof shall be promptly paid. If any such objection to payment of an invoice (or any

portion thereof) is not otherwise resolved between the Debtors, any Committee or the U.S.

Trustee and the issuer of the invoice, either party may submit such dispute to the Court for a

determination as to the reasonableness of the relevant disputed fees and expenses set forth in the

invoice. This Court shall retain the jurisdiction to resolve any dispute as to the reasonableness of

any fees and expenses. Such fees and expenses shall not be subject to the DIP Budget and shall

not be subject to any offset, defense, claim, counterclaim or diminution of any type, kind or

nature whatsoever. For the avoidance of doubt, and without limiting any of the forgoing or any

other provision of this Interim Order, each of the fees specified in Section 2.12 of the DIP Credit

Agreement (including, any commitment fees, upfront fees, administrative agent fees, arranger

fees, exit fees, letter of credit participation fees, letter of credit fronting fees, and unused line

fees), are, in each case, upon entry of this Interim Order and irrespective of any subsequent order

approving or denying the DIP Facility or any other financing pursuant to Section 364 of the

Bankruptcy Code, fully entitled to all protections of Section 364(e) of the Bankruptcy Code and

are deemed fully earned, non-refundable, irrevocable, and non-avoidable as of the date of this

Interim Order.

                 (c)   Credit Bid. The DIP Agent, with the consent of the Required Lenders

shall have the right (on behalf of the DIP Lenders) to credit-bid the amount of the DIP

Obligations (other than, prior to the Challenge Period Termination Date, the DIP Roll-Up Loans)

in connection with any sale of all or substantially all of the Debtors’ assets and property,

including, without limitation, any sale occurring pursuant to Section 363 of the Bankruptcy Code




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or included as part of any Chapter 11 plan subject to confirmation under Section

1129(b)(2)(A)(iii) of the Bankruptcy Code.

               (d)        Binding Effect. The provisions of this Interim Order shall be binding

upon and inure to the benefit of the DIP Secured Parties and the Prepetition Secured Parties, the

Debtors, and their respective successors and assigns (including any trustee or other fiduciary

hereinafter appointed as a legal representative of the Debtors or with respect to the property of

the estates of the Debtors) whether in the Cases, in any Successor Cases, or upon dismissal of

any such Chapter 11 or Chapter 7 cases.

               (e)        No Waiver. The failure of the DIP Secured Parties or the Prepetition

Secured Parties to seek relief or otherwise exercise their rights and remedies under this Interim

Order, the other DIP Loan Documents or the Prepetition Loan Documents or otherwise, as

applicable, shall not constitute a waiver of any of the DIP Secured Parties’ or Prepetition Secured

Parties’ rights hereunder, thereunder, or otherwise. Notwithstanding anything herein, the entry

of this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

implicitly, or otherwise impair any of the rights, claims, privileges, objections, defenses or

remedies of the DIP Secured Parties or the Prepetition Secured Parties under the Bankruptcy

Code or under non-bankruptcy law against any other person or entity in any court, including

without limitation, the rights of the DIP Agent and the Prepetition Agent (i) to request

conversion of the Cases to cases under Chapter 7, dismissal of the Cases, or the appointment of a

trustee in the Cases, (ii) to propose, subject to the provisions of Section 1121 of the Bankruptcy

Code, any Chapter 11 plan, or (iii) to exercise any of the rights, claims or privileges (whether

legal, equitable or otherwise) on behalf of the DIP Secured Parties or the Prepetition Secured

Parties, as applicable.




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                (f)     No Third Party Rights. Except as explicitly provided for herein, this

Interim Order does not create any rights for the benefit of any third party, creditor, equity holder

or any direct, indirect, third party or incidental beneficiary.

                (g)     Intercreditor Matters. Nothing in this Interim Order shall be construed

to convey on any individual DIP Lender or Prepetition Revolving Lender any consent, voting or

other rights beyond those (if any) set forth in the DIP Loan Documents and Prepetition Loan

Documents, as applicable. Nothing in this Interim Order shall be construed to impair, modify or

otherwise affect (i) the Intercreditor Agreement or (ii) any other intercreditor, subordination or

similar agreement or arrangement in respect of the Prepetition Obligations and the obligations

under the Receivables Financing Documents, which in each case are enforceable to the fullest

extent provided by section 510(a) of the Bankruptcy Code and applicable law.

                (h)     No Marshaling. Subject to a Final Order, neither the DIP Secured Parties

nor the Prepetition Secured Parties shall be subject to the equitable doctrine of “marshaling” or

any other similar doctrine with respect to any of the DIP Collateral or the Prepetition Collateral,

as applicable.; provided, however, that the DIP Secured Parties and Prepetition Secured Parties

shall use commercially reasonable efforts to first use all DIP Collateral other than any proceeds

of Avoidance Actions to repay the DIP Superpriority Claim and the Adequate Protection

Superpriority Claim, as applicable.

                (i)     Section 552(b). The DIP Secured Parties and the Prepetition Secured

Parties shall each be entitled to all of the rights and benefits of Section 552(b) of the Bankruptcy

Code and, subject to a Final Order, the “equities of the case” exception under Section 552(b) of

the Bankruptcy Code shall not apply to the DIP Secured Parties or the Prepetition Secured




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Parties with respect to proceeds, product, offspring or profits of any of the Prepetition Collateral

or the DIP Collateral.

               (j)       Consent. Nothing in this Interim Order shall be construed to convey on

any individual DIP Secured Party or individual Prepetition Secured Party any consent, voting or

waiver rights beyond those (if any) set forth in the DIP Loan Documents or the Prepetition Loan

Documents, as applicable.

               (k)       Amendment. The Debtors and the DIP Agent (with the written consent of

the requisite DIP Secured Parties as provided in and consistent with their respective rights under

the DIP Loan Documents) may amend, modify, supplement or waive any provision of the DIP

Loan Documents without further notice to or approval of the Court, unless such amendment,

modification, supplement or waiver (x) increases the interest rate (other than as a result of the

imposition of the default rate or changes to any base rate, LIBOR or similar component thereof)

or fees (other than consent fees in connection with such amendment, modification, supplement

or waiver) charged in connection with the DIP Facility, (y) increases the commitments of the DIP

Lenders to make DIP Extensions of Credit under the DIP Loan Documents, or (z) changes the

Termination Date to an earlier date.         Except as otherwise provided herein, no waiver,

modification, or amendment of any of the provisions hereof shall be effective unless set forth in

writing, signed by, or on behalf of, all the Debtors and the DIP Agent (after having obtained the

approval of the requisite DIP Secured Parties as provided in the DIP Loan Documents) and

approved by the Court after notice to parties in interest.

               (l)       Priority of Terms. To the extent of any conflict between or among (a)

the express terms or provisions of any of the other DIP Loan Documents, the Motion, any other

order of this Court (other than the Final Order when entered), or any other agreements, on the




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one hand, and (b) the terms and provisions of this Interim Order, on the other hand, unless such

term or provision herein is phrased in terms of “defined in” or “as set forth in” the DIP Credit

Agreement, the terms and provisions of this Interim Order shall govern.

               (m)    Survival of Interim Order. The provisions of this Interim Order and any

actions taken pursuant hereto shall survive, and shall not be modified, impaired or discharged by,

any order which may be entered (i) confirming any Chapter 11 plan in the Cases, (ii) converting

any of the Cases to a case under Chapter 7 of the Bankruptcy Code, (iii) dismissing any of the

Cases, (iv) terminating the joint administration of these Cases, (v) withdrawing of the reference

of any of the Cases from this Court or (vi) providing for abstention from handling or retaining of

jurisdiction of any of the Cases in this Court. The terms and provisions of this Interim Order,

including the DIP Liens and DIP Superpriority Claim granted pursuant to this Interim Order, and

any protections granted to or for the benefit of the Prepetition Secured Parties (including the

Adequate Protection Liens and the Adequate Protection Superpriority Claim), shall continue in

full force and effect notwithstanding the entry of such order, or in the event any or all of the

provisions of this Interim Order are hereafter modified, amended or vacated by a subsequent

order of this Court or any other court, and such DIP Liens and DIP Superpriority Claim and

protections for the Prepetition Secured Parties (including the Adequate Protection Liens and the

Adequate Protection Superpriority Claim) shall maintain their priorities as provided by this

Interim Order, the other DIP Loan Documents and the Prepetition Loan Documents (as the case

may be), including the Intercreditor Agreement and any other intercreditor arrangement or

agreements in respect thereof, until all of the DIP Obligations and the Prepetition Obligations

have been indefeasibly paid and satisfied in full in cash (including the cash collateralization of

all DIP Letters of Credit and any Prepetition LCs in accordance with the DIP Loan Documents




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and the Prepetition Loan Documents, as the case may be) and discharged. The Court shall retain

jurisdiction, notwithstanding any such dismissal, for the purpose of enforcing the claims, liens

and security interests referred to in this paragraph 17(m).

               (n)     Enforceability. This Interim Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be fully

enforceable nunc pro tunc to the Petition Date immediately upon execution hereof.

               (o)     Waiver of any Applicable Stay. Any applicable stay (including, without

limitation, under Bankruptcy Rule 6004(h)) is hereby waived and shall not apply to this Interim

Order and this Interim Order shall be immediately effective and enforceable upon its entry.

       18.     Final Hearing.

               (a)     The Final Hearing to consider entry of the Final Order and final approval

of the DIP Facility is scheduled for [________ __]December 20, 2019, at [__:__]9:00 a.m.

(Central Time) at the United States Bankruptcy Court for the Southern District of Texas,

Houston Division. If no objections to the relief sought in the Final Hearing are filed and served

in accordance with this Interim Order, no Final Hearing may be held, and a separate Final Order

may be presented by the Debtors and entered by this Court.

               (b)     On or before [●]November 20, 2019, the Debtors shall serve, by United

States mail, first-class postage prepaid, notice of the entry of this Interim Order and of the Final

Hearing (the “Final Hearing Notice”), together with copies of this Interim Order and the Motion,

on the Notice Parties and to any other party that has filed a request for notices with this Court

prior thereto and to any Committee after the same has been appointed, or Committee counsel, if

the same shall have been appointed. The Final Hearing Notice shall state that any party in

interest objecting to the entry of the proposed Final Order shall file written objections with the




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Clerk of the Court no later than November __December 12, 2019 at [__:__]5:00 pm (Central

Time), which objections shall be served so that the same are received on or before such date by:

(a) counsel for the Debtors, Davis, Polk & Wardwell LLP, 450 Lexington Avenue, New York,

NY 10017, Attn: Brian M. Resnick; (b) local counsel for the Debtors, Norton Rose Fulbright US

LLP, 1301 McKinney Street, Suite 5100, Houston, Texas 77010, Attn: William R. Greendyke;

(c) counsel for the DIP Agent and the Prepetition Agent, White & Case LLP, 1221 Avenue of the

Americas, New York, NY 10020, Attn: Scott Greissman and Elizabeth Feld; (d) local counsel

for the DIP Agent and the Prepetition Agent, Gray Reed, 1300 Post Oak Blvd, Suite 2000.

Houston, TX 77056, Attn: Jason S. Brookner; (e) counsel for PNC Bank, Mayer Brown LLP,

1221 Avenue of the Americas, New York, NY 10020, Attn: Brian Trust; (f) counsel to any

Committee; and (g) the U.S. Trustee.

       19.     Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce

this Interim Order according to its terms.




                                             David R. Jones

                                             UNITED STATES BANKRUPTCY JUDGE




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                             EXHIBIT 1
                      DIP CREDIT AGREEMENT




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                             EXHIBIT 2
                            DIP BUDGET
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 Modified DMS: iw://DMS/AmericasActive/92603919/22
 Changes:
 Add                                                   12
 Delete                                                12
 Move From                                             2
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 Table Insert                                          0
 Table Delete                                          0
 Table moves to                                        0
 Table moves from                                      0
 Embedded Graphics (Visio, ChemDraw, Images etc.)      0
 Embedded Excel                                        0
 Format changes                                        0
 Total Changes:                                        28
